      Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 1 of 57



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


IN RE: AIR CRASH OVER THE SOUTHERN
INDIAN OCEAN ON MARCH 8, 2014


This Document Relates To:
1:16-cv-00053-KBJ,
Wood v. Malaysia Airlines Berhad;
1:16-cv-00419-KBJ,
                                             MDL Docket No: 2712
Gaspard v. Malaysia Airlines Berhad;
1:16-cv-00439-KBJ,
Smith v. Malaysia Airlines Berhad;
1:16-cv-01047-KBJ,                           Misc. No. 16-1184 (KBJ)
Ganguli v. Malaysia Airlines Berhad;
1:16-cv-01048-KBJ,
Zhang, et al. v. Malaysia Airlines Berhad;
1:16-cv-01062-KBJ,
Kanan, et al. v. Malaysia Airlines System
Berhad;
1:16-cv-01063-KBJ,
Huang, et al. v. Malaysia Airlines Berhad.



   DEFENDANT MALAYSIAN AIRLINE SYSTEM BERHAD (ADMINISTRATOR
 APPOINTED)’S MEMORANDUM IN SUPPORT OF ITS RULE 12(b)(1) MOTION TO
 DISMISS PLAINTIFFS’ COMPLAINTS ON THE GROUND OF LACK OF SUBJECT
   MATTER JURISDICTION PURSUANT TO THE MONTREAL CONVENTION
           Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 2 of 57



                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... iv

INDEX OF EXHIBITS ................................................................................................................ viii

INTRODUCTION ...........................................................................................................................1

ARGUMENT ...................................................................................................................................3

I.        The United States Is Not the Place Where any Decedent had His or Her
          “Principal and Permanent Residence” at “the Time of the Accident”
          because None of the Decedents were Residing in the United States. ..................................5

          A.         “Principal and Permanent Residence” Means “The One Fixed and
                     Permanent Abode of the Passenger at the Time of the Accident.” ..........................7

          B.         The Clear Drafting History of the Montreal Convention Establishes
                     that the “Principal and Permanent Residence” Must be Determined
                     by Objective Facts Existing at the Time of the Accident, without
                     Reference to a Passenger’s Subjective Intent. .........................................................9

                     1.         The Special Group Specifically Omitted Reference to a
                                Passenger’s “Domicile” or Subjective Intent from the Text
                                of Article 33.2 and Article 33.3 Before the Delegates
                                Convened in Montreal in 1999. .................................................................11

                     2.         The Minutes and Documents from the Drafting History of
                                the Montreal Convention Confirm the Drafter’s Goal of
                                Divorcing Subjective Intent from the Concept of “Principal
                                and Permanent Residence.” .......................................................................13

          C.         The Cases Importing the Concept of “Domicile” into the
                     Definition of “Principal and Permanent Residence” are based on
                     Flawed Reasoning and are in Derogation of the Plain Language of
                     Article 33.3. ...........................................................................................................17

          D.         While Irrelevant, Plaintiffs Do Not Have Any Admissible
                     Evidence of Any Decedent’s Future Subjective Intent which
                     Would Be Sufficient to Establish Domicile even under Standards
                     of Federal Common Law. ......................................................................................19

                     1.         Muktesh Mukherjee and Xiao Mo Bai’s “Principal and
                                Permanent Residence” and Domicile was in China where
                                they were Residing with their Children. ....................................................23




                                                                      ii
           Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 3 of 57



                     2.         Philip Wood’s “Principal and Permanent Residence” and
                                Domicile was in Malaysia where he was Residing with his
                                Partner. .......................................................................................................28

                     3.         Nicole and Leo Meng’s “Principal and Permanent
                                Residence” and Domicile was in China where they were
                                Residing with their Chinese Citizen Parents..............................................31

                     4.         Meng Zhang’s “Principal and Permanent Residence” and
                                Domicile was in China where she was Residing with her
                                Husband. ....................................................................................................33

II.       Plaintiffs Cannot Establish Article 33.1 Jurisdiction Because the United
          States is Not the Location of MAS’s Place of Business Through Which the
          Decedents’ Contracts of Carriage Were Made ..................................................................35

          A.         No Binding Contract of Carriage Was Formed until the
                     Passenger’s Offer to Purchase Particular Transportation Was
                     Accepted by MAS at One of MAS’s Places of Business.......................................38

          B.         No Place of Business of MAS in the United States Accepted any of
                     the Passengers’ Offers to Purchase the Transportation which
                     Included Flight MH370..........................................................................................41

III.      The United States Was Not The Place Of Destination (or Any Place) On
          Any Of The Passengers’ Contracts Of Carriage. ...............................................................42

IV.       MAS Is Domiciled And Has Its Principal Place Of Business In Malaysia. ......................42

CONCLUSION ..............................................................................................................................43




                                                                      iii
         Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 4 of 57



                                           TABLE OF AUTHORITIES

                                                                                                                       Page

Cases

American Fire & Cas. Co. v. Finn, 341 U.S. 6 (1951) ................................................................... 3

Auster v. Ghana Airways, Ltd., 514 F.3d 44 (D.C. Cir. 2008) ................................................... 2, 3

Block v. Compagnie Nationale Air France, 386 F.2d 323 (5th Cir.1967) .................................... 37

Boyar v. Korean Air Lines, 664 F. Supp. 1481 (D.D.C.1987)............................................ 2, 36, 37

Broadstone Realty Corp. v. Evans, 213 F. Supp. 261 (S.D.N.Y.1962) ........................................ 34

Chan v. Korean Air Lines, Ltd., 490 U.S. 122 (1989) .................................................................. 18

Choi v. Asiana Airlines, Inc., No. 14-cv-03738,
       2015 WL 394198 (N.D. Cal. Jan. 29, 2015) ..................................................................... 17

Core VCT PLC v. Hensley, 89 F. Supp. 3d (D.D.C. 2015).............................................. 25, 29, 31

Dean Foods Co. v. Brancel, 187 F.3d 609 (7th Cir. 1999) ........................................................... 39

E.C. Styberg Eng'g Co. v. Eaton Corp., 492 F.3d 912 (7th Cir. 2007)......................................... 40

El Al Israel Airlines, Ltd. v. Tsui Yuan Tseng, 525 U.S. 155 (1999) .......................................... 2, 3

Ex Parte Petterson, 166 F. 536 (D. Minn.1908)........................................................................... 32

Fadhilah v. Societe Air France, 987 F. Supp. 2d 1057 (C.D. Cal.2013) ........................................ 9

Freeman v. Nw. Acceptance Corp., 754 F.2d 553 (5th Cir. 1985) ............................................... 21

Freidrich v. Davis, 767 F.3d 374 (3d Cir. 2014) .............................................................. 20, 25, 26

Galva Foundry Company v. Heiden, 924 F.2d 729 (7th Cir. 1991) ....................................... 16, 21

Gayda v. LOT Polish Airlines, 702 F.2d 424 (2d Cir.1983) ..................................................... 4, 42

Gutierrez v. Fox, 141 F.3d 425 (2d Cir. 1998) ............................................................................. 21

Hawes v. Club Ecuestre El Comandante, 598 F.2d 698 (1st Cir. 1979) ...................................... 24

Hendry v. Masonite Corporation, 455 F.2d 955 (5th Cir. 1972) .................................................. 22

Hinc v. Lime-O-Sol Co., 382 F.3d 716 (7th Cir. 2004)................................................................. 41

Hornsby v. Lufthansa German Airlines, 593 F. Supp. 2d 1132 (C.D. Cal. 2009) ........................ 17


                                                             iv
          Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 5 of 57



In re Air Crash Disaster at Malaga, Spain on Sept. 13, 1982,
        577 F. Supp. 1013 (E.D.N.Y. Jan. 30, 1984) .................................................................... 42

In Re Air Crash Over Mid-Atlantic on June 1, 2009,
       760 F. Supp. 2d 832 (N.D. Cal. 2010) .............................................................................. 17

In re Air Disaster Near Cove Neck, N.Y., on Jan. 25, 1990,
        774 F. Supp. 718 (E.D.N.Y. 1991) ..................................................................................... 2

Kapar v. Kuwait Airways Corp., 663 F. Supp. 1065 (D.D.C.1987) ............................................. 37

Kapar v. Kuwait Airways Corp., 845 F.2d 1100 (D.C. Cir.1988) ............................................ 4, 37

King v. Cessna Aircraft Co., 505 F.3d 1160 (11th Cir.2007) ................................................. 22, 24

Klocek v. Gateway, Inc., 104 F. Supp. 2d 1332 (D. Kan. 2000) ................................................... 40

Klos v. Polskie Linie Lotnicze, 133 F.3d 164 (2d Cir. 1997) ........................................................ 42

Lew v. Moss, 797 F.2d 747 (9th Cir. 1986)................................................................................... 21

Linardos v. Fortuna, 157 F.3d 945 (2d Cir. 1998) ................................................................. 20, 21

Malone v. Saxony Co-op. Apartments, Inc., 763 A.2d 725 (D.C. 2000) ...................................... 39

Masonite Corp. v. Hendry, 409 U.S. 1023 (1972) ........................................................................ 22

Maurice Elec. Supply Co. v. Anderson Safeway Guard Rail Corp.,
      632 F. Supp. 1082 (D.D.C. 1986) ..................................................................................... 39

McCormick v. Aderholt, 293 F.3d 1254 (11th Cir. 2002) ............................................................. 21

McNutt v. General Motors Acceptance Corp., 298 U.S. 178 (1936) ............................................ 21

Medellin v. Texas, 552 U.S. 491, 128 S.Ct. 1346 (2008) ............................................................... 9

Mississippi Band of Choctaw Indians v. Holyfield,
       490 U.S. 30, 109 S.Ct. 1597 (1989) ................................................................ 19, 20, 28, 32

Mitchell v. United States, 88 U.S. 350, 22 L.Ed. 584 (1874) ................................................. 20, 21

O'Callaghan v. AMR Corp., No. 04-cv-4005,
       2005 WL 1498870 (N.D. Ill. June 8, 2005) ...................................................................... 39

Petrire v. Spantax, S.A., 756 F.2d 263 (2d Cir. 1985) .................................................................. 42

REO Acquisition Grp. v. Fed. Nat'l Mortgage Ass'n,
     104 F. Supp. 3d 22 (D.D.C. 2015) .................................................................................... 39



                                                               v
           Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 6 of 57



Rowell v. Franconia Minerals Corp., 706 F. Supp. 2d 891 (N.D. Ill. 2010) .................................. 3

Sadat v. Mertes, 615 F.2d 1176 (7th Cir. 1980) ................................................... 19, 22, 25, 28, 30

Samra v. Shaheen Bus. & Inv. Grp., Inc., 355 F. Supp. 2d 483 (D.D.C. 2005) ........................... 41

Seales v. Panamanian Aviation Co., 356 Fed. Appx. 461 (2d Cir.2009) ....................................... 7

Seales v. Panamanian Aviation Company, Ltd.,
       No. 07-cv-2901, 2009 WL 395821 (E.D.N.Y. Feb. 18, 2009) ................................... 7, 8, 9

Singh v. Tarom Romanian Air Transport, 88 F. Supp. 2d 62 (E.D.N.Y. 2000) ........................... 43

Sinochem Intern. Co. Ltd v. Malaysia Intern. Shipping Corp., 549 U.S. 422 (2007)................... 20

Slaughter v. Toye Bros. Yellow Cab Co., 359 F.2d 954 (5th Cir. 1966) ...................................... 20

Steinberg v. Chicago Medical School, 371 N.E.2d 634 (Ill. 1977) .............................................. 39

Stine v. Moore, 213 F.2d 446 (5th Cir.1954) .............................................................. 20, 22, 30, 32

United States v. Scott, 472 F.Supp. 1073 (N.D. Ill. 1979) ............................................................ 34

Von Holdt v. A-1 Tool Corp., No. 04 C, 04123,
      2013 WL 53986 (N.D. Ill. Jan. 3, 2013) ........................................................................... 39

Wyler v. Korean Air Lines Company, Ltd., 928 F.2d 1167 (D.C. Cir. 1991) ............................... 43

Statutes

28 U.S.C. § 1330 ............................................................................................................................. 1

28 U.S.C. § 1332(a)(4).................................................................................................................... 1

28 U.S.C. § 1391(f) ......................................................................................................................... 1

28 U.S.C. § 1441(d) ........................................................................................................................ 1

28 U.S.C. § 1602 et seq................................................................................................................... 1

49 U.S.C. § 1502 ............................................................................................................................. 2

Rules

Fed. R. Civ. P. 5 ............................................................................................................................ 46

Fed. R. Civ. Pro. Rule 12(b)(1)....................................................................................................... 1

Fed. R. Civ. Pro. Rule 12(b)(6)....................................................................................................... 1



                                                                       vi
          Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 7 of 57



Other Authorities

13B C. Wright, A. Miller & E. Cooper, Federal Practice and Procedure
       § 3612 (2d ed. 1984) ......................................................................................................... 20

Convention for the Unification of Certain Rules for International Carriage by Air,
      May 28, 1999 (entered into force on Nov. 4, 2003),
      reprinted in S. Treaty Doc. 106-45, 1999 WL 33292734 ....................................... 1, 2, 4, 5

Convention for the Unification of Certain Rules Relating to International Transportation by Air,
      October 12, 1929, 49 Stat. 3000, T.S. No. 876, 137 L.N.T.S. 11 ....................................... 2

Restatement (Second) of Conflict of Laws, § 188 ........................................................................ 41

Restatement (Second) of Contracts, § 26 ...................................................................................... 39

Restatement (Second) of Contracts, § 63 ................................................................................ 40, 41




                                                                  vii
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 8 of 57



                                 INDEX OF EXHIBITS


Exhibit No.                                        Description

    1         Plaintiffs’ Answers to MAS’s First Set of Interrogatories regarding Threshold
              Issues on behalf of decedent, Qingyuan Yang

    2         Kanan’s Answers to MAS’s First Set of Interrogatories regarding Threshold
              Issues

    3         Gaspard’s Answers to MAS’s First Set of Interrogatories regarding Threshold
              Issues on behalf of Rui Wang

    4         Gaspard’s Answers to MAS’s First Set of Interrogatories regarding Threshold
              Issues on behalf of Wei Wei Jiao

    5         Gaspard’s Answers to MAS’s First Set of Interrogatories regarding Threshold
              Issues on behalf of Shu Ling Dai

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              Vol. I, Minutes, pg. 38, Minutes of the First Plenary Meeting, 10 May 1999
              (1100 h.)

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              LC/190, Report on Agenda Item 4, pp. 159-187 (“ICAO Preparatory Materials”)

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              Consolidation of the Warsaw System (“SGMW”), First Meeting Final Report,
              Report on Agenda Item 2

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              the ICAO Legal Committee, Comments on Article 27 Presented by the U.K., 7
              April 1998

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              Vol. II, Documents, DCW Doc. No. 28

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              “Friends of the Chairman” Group, 18 May 1999

    12        ICAO Documents, DCW Doc. No. 3, 9 November 1998



                                            viii
 Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 9 of 57




13     ICAO Minutes, Minutes of the Third Meeting of the “Friends of the Chairman”
       Group, 19 May 1999

14     ICAO Documents, DCW Doc No. 33, Article 27 – Fifth Jurisdiction (Presented
       by France), 17 May 1999

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       1999

16     ICAO Minutes, Minutes of the Thirteenth Meeting of the Commission of the
       Whole, 25 May 1999

17     Marriage Certificate and Canadian Passports

18     Relevant pages from Mukherjee’s L-1A Application, dated August 11, 2005

19     Notice of action approving L-1A Application, dated August 16, 2005

20     Relevant pages from Mukherjee’s I-485 Application dated October 30, 2006 and
       U.S. Government Issued Identification for Mukherjee and Bai

21     Deed to 663 W. Wellington Ave. Property, dated January 13, 2006

22     Application for Travel Document dated September 18, 2008

23     Relevant pages from Mukherjee/Bai 2009 Joint U.S. Tax Return

24     Relevant pages from Mukherjee/Bai 2010 Joint U.S. Tax Return

25     Relevant pages from Mukherjee/Bai 2011 Joint U.S. Tax Return

26     Relevant pages from Mukherjee/Bai 2012 Joint U.S Tax Return

27     Mukherjee Xcoal Employment Agreement

28     Xcoal Lease Agreement for 6 Chaoyangmenwai Avenue, Tower 15, Unit 2003,
       Beijing, 100020, China dated November 8, 2012

29     Relevant pages from Mukherjee/Bai 2013 Joint U.S. Tax Return




                                     ix
 Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 10 of 57




30      Relevant pages from Mukherjee/Bai 2014 Joint U.S. Tax Return

31      Lease and Lease Renewal for 663 West Wellington Ave., Chicago, Illinois for
        Period from December 31, 2011 through March 31, 2015

32      Mukherjee/Bai Family Certificates of Canadian Citizenship

33      Copies of Canadian Passports of M.Q.M. and M.J.M.

34      Chinese Work Permit Issued July 30, 2012

35      Chinese Tax Records, 2009-2014

36      2008 Form 1040-IL

37      Resume of Philip Wood

38      Summary of Allowances while on International Assignment in Beijing

39      Relevant Pages from Wood 2011 Joint U.S. Tax Return

40      Relevant Pages from Wood 2012 Joint U.S. Tax Return

41      Relevant Pages from Wood 2013 Individual U.S. Tax Return

42      IBM-Malaysia Employment Letter and Agreement

43      Wood’s Travel Records

44      Answers to MAS’s First Set of Interrogatories Regarding Threshold Motions on
        behalf of decedent, Bing Meng

45      Answers to MAS’s First Set of Interrogatories Regarding Threshold Motions on
        behalf of decedent, Yan Zhang

46      Nicole Meng U.S. Passport

47      Leo Meng U.S. Passport




                                      x
 Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 11 of 57




48      Birth Notarial Certificate

49      Form I-797C Notice dated September 22, 2005

50      I-485 Application to Register Permanent Residence or Adjust Status, Approved
        December 9, 2008

51      Plaintiffs’ Answers to MAS’s First Set of Interrogatories regarding Threshold
        Issues on behalf of decedent, Meng Zhang

52      Answers to MAS’s First Set of Interrogatories regarding Threshold Issues on
        behalf of decedent, Peng Yan

53      Declaration of Alpa Devi Panalal

54      Declaration of Rizani Bin Hassan

55      Declaration of Mohd Fuad Bin Mohd Sharuji




                                       xi
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 12 of 57



                                             MEMORANDUM

        Subject to, and without waiver of, any rights, privileges, or defenses or conceding the

convenience of this forum for resolution of this dispute, and without prejudice to its defense of

immunity from the jurisdiction of the courts of the United States and of the States under the

Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1330, 1332(a)(4), 1391(f), 1441(d), 1602 et

seq.,1 Defendant, MALAYSIAN AIRLINE SYSTEM BERHAD (ADMINISTRATOR

APPOINTED) (“MAS”), incorrectly sued as “Malaysian Airlines System Berhad,” respectfully

submits this Memorandum of Law in Support of its Fed. R. Civ. Pro. Rule 12(b)(1) Motion to

Dismiss the above-captioned cases (the “Consolidated Lawsuits”) against Defendant, MAS, on

the ground of lack of Subject Matter Jurisdiction under the Convention for the Unification of

Certain Rules for International Carriage by Air, May 28, 1999 (entered into force on Nov. 4,

2003), reprinted in S. Treaty Doc. 106-45, 1999 WL 33292734 (“Montreal Convention”).2

                                             INTRODUCTION

        Plaintiffs commenced the above-captioned cases between December 30, 2015 and March

7, 2016 to recover damages for the deaths of over fifty (50) passengers on board Malaysia

Airlines Flight MH370 (“Flight MH370”), an international passenger flight operated by MAS

from Kuala Lumpur, Malaysia to Beijing, China on March 8, 2014. Flight MH370 lost contact

with aircraft controllers shortly after take-off and never arrived at its destination. It is presumed


1
  Defendant Malaysian Airline System Berhad (Administrator Appointed) (“MAS”) and Defendant Malaysia
Airlines Berhad (“MAB”), the former and current national carrier of Malaysia, are filing a Joint Motion to Dismiss
Pursuant to Rule 12(b)(6) on the Ground of Immunity Pursuant to the Foreign Sovereign Immunities Act, 28 U.S.C.
§§ 1330, 1332(a)(4), 1391(f), 1441(d), 1602 et seq., contemporaneously herewith.
2
  Certain Plaintiffs have also named the current national carrier of Malaysia, Malaysia Airlines Berhad (“MAB”), as
the alleged successor-in-interest to MAS and MAS’s alleged insurer, Allianz Global Corporate & Specialty SE
(“AGCS SE”), as an involuntary legal representative of MAS. For reasons explained in separate threshold motions,
MAB and AGCS SE are not proper defendants and cannot be held liable for the loss of Flight MH370. However, in
the event that this Court accepts the Plaintiffs unprecedented allegations, which MAB and AGCS SE expressly
deny, MAB and/or AGCS SE would stand in the shoes of MAS. MAB and AGCS SE have filed,
contemporaneously herewith, their separate Joinders in this motion.


                                                        1
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 13 of 57



that Flight MH370 crashed somewhere over the Southern Indian Ocean (the “Accident”) and all

passengers on board are presumed to have perished in the Accident.

        Because it is undisputed that Flight MH370 was “international carriage of persons,

baggage or cargo performed by aircraft for reward[,]” these wrongful death lawsuits are all

governed by the Montreal Convention. See, Article 1.1, Convention for the Unification of

Certain Rules for International Carriage by Air, May 28, 1999 (entered into force on Nov. 4,

2003), reprinted in S. Treaty Doc. 106-45, 1999 WL 33292734 (“Montreal Convention” or

“Convention”); see also, Auster v. Ghana Airways, Ltd., 514 F.3d 44, 45 (D.C. Cir. 2008)(citing

El Al Israel Airlines, Ltd. v. Tsui Yuan Tseng, 525 U.S. 155, 161 (1999)). Accordingly, the

United States is an available jurisdiction under the Montreal Convention only if the United States

is one of the five places identified under Article 33 as having the necessary relation with the

carrier and the passenger. The jurisdictional provisions of Article 33, like the jurisdictional

provisions of Article 28 of the predecessor Warsaw Convention,3 are restrictive and intended to

limit rather than broaden the permissible jurisdictions available under this international treaty.

See, Boyar v. Korean Air Lines, 664 F. Supp. 1481, 1483 (D.D.C.1987). Article 33 identifies five

“discrete points of jurisdiction, rather than [five] categories of locations which might each

contain several appropriate points.” In re Air Disaster Near Cove Neck, N.Y., on Jan. 25, 1990,

774 F. Supp. 718, 722 (E.D.N.Y. 1991) (interpreting Art. 28 of Warsaw Convention).

        Plaintiffs are asking this Court to disregard longstanding principles of treaty construction

and to import meanings inconsistent with the plain text of the treaty which would lead to an

expansion of jurisdiction under the Montreal Convention. If Plaintiffs’ positions were to be

accepted, it would essentially render the courts of any nation an available forum in any suit

3
  Convention for the Unification of Certain Rules Relating to International Transportation by Air, October 12, 1929,
49 Stat. 3000, T.S. No. 876, 137 L.N.T.S. 11, reprinted in 49 U.S.C. § 1502 note (1976), commonly referred to as
the Warsaw Convention.


                                                         2
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 14 of 57



arising from any accident in the course of international transportation by air – regardless of any

meaningful connection between the forum and the passenger, the airline or the accident.

However, federal courts are expected to monitor their jurisdictional boundaries vigilantly and to

guard carefully against expansion by judicial interpretation. Rowell v. Franconia Minerals Corp.,

706 F. Supp. 2d 891, 892 (N.D. Ill. 2010)(citing American Fire & Cas. Co. v. Finn, 341 U.S. 6,

17-18 (1951)). None of the provisions of the Montreal Convention, Article 33, provide a basis

for any court in the United States to exercise subject matter jurisdiction over any of the above-

captioned wrongful death lawsuits (“Lawsuits”) and should be dismissed for lack of jurisdiction

under the Montreal Convention.

                                          ARGUMENT

       Cases arising as a result of injury or death during “international carriage by air” are

governed exclusively by the Montreal Convention. Auster, 514 F.3d at 45 (citing El Al Israel

Airlines, Ltd., 525 U.S. at 161). Claims arising under the Montreal Convention may only be

brought in a limited number of jurisdictions specified in Article 33 of the Convention. In this

case, none of the available Montreal Convention jurisdictions are in the United States and all of

the claims in these Lawsuits against MAS must be dismissed for lack of jurisdiction under the

Convention.

       Article 33 sets forth five discrete points of jurisdiction where an action may be brought,

provided certain necessary conditions are met. Specifically, Article 33 provides in relevant part

as follows:

       1. An action for damages must be brought, at the option of the plaintiff, in the
       territory of one of the States Parties, either before the court of the [1] domicile of
       the carrier or [2] of its principal place of business, or [3] where it has a place of
       business through which the contract has been made or [4] before the court at the
       place of destination.




                                                 3
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 15 of 57



       2. In respect of damage resulting from the death or injury of a passenger, an
       action may be brought . . . in the territory of a State Party [5] in which at the time
       of the accident the passenger has his or her principal and permanent residence and
       to or from which the carrier operates services for the carriage of passengers by air,
       either on its own aircraft or on another carrier's aircraft pursuant to a commercial
       agreement, and in which that carrier conducts its business of carriage of
       passengers by air from premises leased or owned by the carrier itself or by
       another carrier with which it has a commercial agreement.

       3. For the purposes of paragraph 2,

                                        *       *       *
       (b) "principal and permanent residence" means the one fixed and permanent
       abode of the passenger at the time of the accident. The nationality of the
       passenger shall not be the determining factor in this regard.

                                         *       *       *

Montreal Convention, Art. 33. (emphasis added).

       In the above-captioned cases, Plaintiffs allege jurisdiction in the United States based on

the passenger’s alleged [5] “principal and permanent residence” in the United States “at the time

of the accident” under the provisions of Art. 33.2, or [3] that the United States is “where MAS

has a place of business through which the contract [with the passenger] has been made,” under

Art. 33.1, or both.

       Article 33 of the Montreal Convention “‘operates as an absolute bar to federal

jurisdiction in cases falling outside its terms.’” Kapar v. Kuwait Airways Corp., 845 F.2d 1100,

1104 (D.C. Cir.1988)(quoting Gayda v. LOT Polish Airlines, 702 F.2d 424, 425 (2d Cir.1983)

(per curiam)). As will be demonstrated below, the Plaintiffs cannot satisfy the requirements of

Article 33 to establish jurisdiction because: (1) none of the deceased passengers had a “principal

and permanent residence” in the United States at the “time of the accident”; and/or (2) MAS’s

“place of business through which the contract [with the passenger] was made” was outside the

United States. The bases on which Plaintiffs premise Montreal Convention jurisdiction in the




                                                 4
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 16 of 57



United States rely on the importation of words or concepts that are not part of Art. 33.2 of the

Convention, or essentially disregard basic principles of contract law in attempting to make the

United States a forum under Art. 33.1.

I.     The United States Is Not the Place Where any Decedent had His or Her “Principal
       and Permanent Residence” at “the Time of the Accident” because None of the
       Decedents were Residing in the United States.

       Article 33.2 of the Montreal Convention does not provide a basis for this Court to

exercise subject matter jurisdiction over these wrongful death lawsuits. Article 33.2 of the

Montreal Convention, sometimes referred to as the “fifth jurisdiction,” provides that, in cases

involving death or injury of a passenger, an action for damages “may be brought”:

       . . . in the territory of a State Party in which at the time of the accident the
       passenger has his or her principal and permanent residence and to or from which
       the carrier operates services for the carriage of passengers by air, either on its own
       aircraft or another carrier’s aircraft pursuant to a commercial agreement, and in
       which that carrier conducts its business of carriage of passengers by air from
       premises leased or owned by the carrier with which it has a commercial
       agreement.

Montreal Convention, Art. 33.2 (emphasis added). Pursuant to Article 33.3(b), “‘principal and

permanent residence’ means the one fixed and permanent abode of the passenger at the time of

the accident. The nationality of the passenger shall not be the determining factor in this regard.”

Id. at Art. 33.3(b) (emphasis added). Noticeably absent from the text of Article 33.2 is any

reference to the passenger’s “domicile,” a United States common law concept that Plaintiffs seek

to inject into the meaning of “principal and permanent residence” as used in an international

treaty that is meant to be a framework that interfaces with varying legal systems of the signatory

countries. The sole objective of Plaintiffs’ allegations is to introduce a subjective element into

Art.33.2 in an effort to claim Montreal Convention jurisdiction in the country of their choosing

rather than the country where the Plaintiffs’ decedents actually resided.




                                                 5
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 17 of 57



         Here, the Ganguli Plaintiff’s decedents, Muktesh Mukherjee and Xiao Mo Bai, had their

residence in China where they were living with their children at the time of the Accident. The

Wood decedent, Philip Wood, had established his residence with his partner in Malaysia at the

time of the Accident, where he had recently moved from his previous residence in China. The

lead Plaintiffs’ decedent in the Huang, et al., matter, Meng Zhang, had her residence in China,

where she was living with her husband and his family, all of whom were Chinese citizens, at the

time of the accident; and the lead Plaintiffs’ decedents in the Zhang, et al., matter who claim

jurisdiction on the basis of Article 33.2, Leo and Nicole Meng, were one and three years old at

the time of the Accident and were living in China with their Chinese citizen parents. The

Plaintiffs for the remaining forty-one decedents in the Huang, et al., Zhang, et al. and Smith

matters (the “Motley Rice Plaintiffs”) do not specifically rely on Article 33.2 as a basis for this

Court’s jurisdiction and have not alleged any residence in the United States at the time of the

Accident.4 The Kanan Plaintiffs and the Gaspard Plaintiffs also do not rely on Article 33.2 to

establish jurisdiction and have conceded that the Decedents were living in Malaysia and China,

respectively.5


4
  The Motley Rice Plaintiffs attempt to confuse the record by making vague allegations in the operative complaints
that “each, all and any” of the jurisdictional bases apply to the Plaintiffs’ claims, and again in their Answers to
MAS’s First Set of Interrogatories regarding Threshold Issues answer that there is jurisdiction in the United States
under Article 33 because “some passengers” had their “principal and permanent residence” in the United states, and
“some passengers” may have purchased their ticket for carriage on Flight MH370 in the United States, but provide
no facts whatsoever on which jurisdiction is premised for those decedents. See, e.g., Ex. 1, Plaintiffs’ Answers to
MAS’s First Set of Interrogatories regarding Threshold Issues on behalf of decedent, Qinqyuan Yang. As a matter of
law, the absence of necessary jurisdictional allegations requires dismissal. To the extent counsel suggests that
Montreal Convention jurisdiction over one passenger claim can confer jurisdiction over all other passenger claims
joined in the same complaint that is obviously incorrect. Taken to its logical extreme that would mean in every air
crash disaster in the course of international transportation, every claim of every passenger on board the aircraft could
be brought in the United States so long as the United States was an appropriate forum to adjudicate the claim of a
single passenger.
5
  See, Ex. 2, Kanan’s Answers to MAS’s First Set of Interrogatories regarding Threshold Issues, at Answer to
Interrogatory Nos. 12-13; Ex. 3, Gaspard’s Answers to MAS’s First Set of Interrogatories regarding Threshold
Issues on behalf of Rui Wang, at Answer to Interrogatory Nos. 12-13; Ex. 4, Gaspard’s Answers to MAS’s First Set
of Interrogatories regarding Threshold Issues on behalf of Wei Wei Jiao, at Answer to Interrogatory Nos. 12-13; Ex.
5, Gaspard’s Answers to MAS’s First Set of Interrogatories regarding Threshold Issues on behalf of Shu Ling Dai,
at Answer to Interrogatory Nos. 12-13.


                                                           6
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 18 of 57




        As the above discussion demonstrates, none of the Plaintiffs’ Decedents actually resided

in the United States at the time of the Accident. Therefore, the United States is not the place

where any passenger had his or her “principal and permanent residence.” Accordingly, Article

33.2 does not provide a basis for this Court to exercise subject matter jurisdiction over any of

these wrongful death lawsuits and this Court must dismiss all of the above-captioned cases to the

extent that jurisdiction is premised on Article 33.2 of the Montreal Convention.

        A.      “Principal and Permanent Residence” Means “The One Fixed and
                Permanent Abode of the Passenger at the Time of the Accident.”

        As a term defined in the Convention itself, the definition of “principal and permanent

residence” in Article 33.3(b) is controlling and must be given effect. According to the definition,

the phrase “principal and permanent residence” means “the one fixed and permanent abode of the

passenger at the time of the accident. The nationality of the passenger shall not be the determining

factor in this regard.” Accordingly, the place of a passenger’s “principal and permanent

residence” refers only to the place where the passenger was actually residing contemporaneous

with the accident that caused the injury or death.

        In Seales v. Panamanian Aviation Company, Ltd., No. 07-cv-2901, 2009 WL 395821

(E.D.N.Y. Feb. 18, 2009), aff'd sub nom. Seales v. Panamanian Aviation Co., 356 Fed. Appx.

461 (2d Cir.2009), the United States District Court for the Eastern District of New York found

that it lacked subject matter jurisdiction over the Plaintiff’s Montreal Convention claim because

the United States was not the Plaintiff’s “principal and permanent residence.” Notwithstanding

that the Plaintiff was a United States citizen and retained his domicile of choice in the State of

New York for purposes of diversity jurisdiction, the district court found that the Plaintiff did not




                                                     7
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 19 of 57



have his “principal and permanent residence” in the United States because he was not residing

anywhere in the United States on the date of the accident. 2009 WL 395821, at *5-*10.

       In Seales, the Plaintiff was a dual citizen of the United States and Panama who moved to

the United States in 1976 and lived in New York from 1989 to 1998. Id. at *1. The court

concluded that although the airline had not shown a change in domicile from the United States to

either Panama or Jamaica for purposes of defeating diversity jurisdiction, “it does not follow that

plaintiff, who bears the burden of establishing subject matter jurisdiction, has established that

New York was his ‘principal and permanent residence’ [at the time of the events leading to the

suit’] in October 2005” Id. at *10 (emphasis added). Notwithstanding Plaintiff’s testimony that

he never intended to make Jamaica or Panama his permanent home and always intended to return

to the United States, Plaintiff could not overcome the objective fact that he was residing in

Panama at the time of the events in question and testified that he maintained his residence there

at the time of his deposition. Id. (emphasis added). Accordingly, the court dismissed the

Plaintiff’s Montreal Convention claim on the ground of lack of subject matter jurisdiction to hear

that claim.

       The Seales Court recognized that “principal and permanent residence” is specifically

defined by the Montreal Convention and means something distinctly different from the concept

of “domicile” as understood under United States common law for purposes of diversity

jurisdiction. Under the Montreal Convention, the relevant inquiry is where the passenger actually

resided on the date of the accident and the determination must be made based on objective

evidence and taking into account the recognition that jurisdiction under the Montreal Convention

is to be strictly construed to limit jurisdiction. Accordingly, evidence of a passenger’s subjective

future intent to establish or reestablish residence in a particular country is irrelevant. Apart from




                                                 8
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 20 of 57



the logical reading and plain language of Article 33.2 applied by the court in Seales, the drafting

history of Article 33.2 demonstrates that the drafters intended to avoid or exclude the United

States common law concept of “domicile” and its concomitant reference to the subjective

element of intent from Article 33.2.

       Here, as explained above, none of the passengers named in the above-captioned cases

were residing or had any place to reside in the United States on the date of the Accident. Rather,

the objective facts establish that the decedents were all residing in China or Malaysia at the time

of the Accident. Accordingly, Article 33.2 does not provide this Court a basis for exercising

subject matter jurisdiction over any of the above-captioned cases.

       B.      The Clear Drafting History of the Montreal Convention Establishes that the
               “Principal and Permanent Residence” Must be Determined by Objective
               Facts Existing at the Time of the Accident, without Reference to a
               Passenger’s Subjective Intent.

       The meaning of “principal and permanent residence,” as defined by Article 33.3, is clear

and the drafting history confirms that “principal and permanent residence” must be determined

by the objective facts existing at the time of the accident in question, without reference to a

passenger’s subjective intent as to the permanency of that residence. As a treaty ratified by the

United States, the Montreal Convention is an agreement among sovereign powers and this Court

may consider the negotiation and drafting history of the Montreal Convention as well as the post-

ratification understanding of signatory nations as aids to its interpretation. Fadhilah v. Societe

Air France, 987 F. Supp. 2d 1057, 1062 (C.D. Cal.2013)(quoting Medellin v. Texas, 552 U.S.

491, 507, 128 S.Ct. 1346 (2008)). Consistent with the holding in Seales, the drafting history of

the Montreal Convention indicates that the drafters of the Montreal Convention specifically

intended to eschew a meaning similar to the concept of domicile as used under United States law




                                                9
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 21 of 57



for determining federal subject matter jurisdiction when it included the fifth jurisdiction in the

country of a passenger’s “principal and permanent residence.”

       As the drafting history shows, the draft text considered by the delegations at the

International Conference on Air Law beginning on May 10, 1999 at Montreal was “the outcome

of more than three years of spirited consultations and deliberations in the various bodies of the

ICAO which were involved in the preparatory process.” See Ex. 6, International Civil Aviation

Organization, International Conference on Air Law, Vol. I, Minutes, pg. 38, Minutes of the First

Plenary Meeting, 10 May 1999 (1100 h.) (“ICAO Minutes”). The so-called “fifth jurisdiction”

was among the most controversial of the provisions discussed during the preparatory process. Id.

       Following the 30th Session of the Legal Committee, a draft text was approved which

contained a number of provisions in square brackets. Id. Further refinement of the draft text was

assigned to be carried out by the “Special Group on the Modernization and Consolidation of the

Warsaw Convention,” (the “Special Group”), a body of experts who met in April of 1998. Id.

The phrase “principal and permanent residence” was developed during these preparatory

sessions and was included in the draft text considered by the delegations in Montreal the

following year. Review of the complete drafting history of the Montreal Convention, including

the ICAO Minutes, Documents and Preparatory Materials, unquestionably demonstrates that the

determination of a passenger’s “principal and permanent residence” must be based on the

passenger’s actual residence or abode contemporaneous with the time of the accident, and

forecloses the possibility that a passenger can have his or her “principal and permanent

residence” anywhere other than when he or she was residing at the time of the accident.




                                               10
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 22 of 57



             1.        The Special Group Specifically Omitted Reference to a Passenger’s
                       “Domicile” or Subjective Intent from the Text of Article 33.2 and
                       Article 33.3 Before the Delegates Convened in Montreal in 1999.

       The Montreal Convention preparatory materials demonstrate that the fifth jurisdiction

was never intended to be based on the concept of “domicile” as that concept is used and

understood under United States law and that from the outset, an agreement was reached to delete

any reference to domicile or subjective intent from the text of Article 33.2 and 33.3 of the draft

Convention. From these materials, it is apparent that the basis for the fifth jurisdiction was the

subject of extensive discussions during the meetings of the Special Group. See Ex. 7,

International Conference on Air Law, Vol. III, Preparatory Materials, Doc. 9693-LC/190, Report

on Agenda Item 4, pp. 159-187 (“ICAO Preparatory Materials”).            Significantly, the draft

convention that was prepared and approved during the 30th Legal Session identified the fifth

jurisdiction in relevant part as follows:

       In respect of damage resulting from the death or injury of a passenger, the action
       may be brought before one of the Courts mentioned in paragraph 1 of this Article
       or in the territory of a State Party in which the passenger has his or her domicile
       or permanent residence . . .

Id., at Attachment D, p. 219, Draft Convention for the Unification of Certain Rules for

International Carrier by Air (emphasis added).

       During subsequent meetings of the Special Group, proponents of the fifth jurisdiction

argued that jurisdiction based on a passenger’s domicile was necessary to enhance passengers’

rights under the treaty and they referred to previous amendments to the Warsaw Convention,

including the Guatemala Protocol of 1971, in which a fifth jurisdiction was incorporated on that

basis. See Ex. 8, ICAO Preparatory Materials, Special Group on the Modernization and

Consolidation of the Warsaw System (“SGMW”), First Meeting Final Report, Report on Agenda

Item 2, ¶ 2:43. Opponents of the provision, however, objected to basing the fifth jurisdiction


                                                 11
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 23 of 57



merely on the domicile of the passenger, and this was of particular concern in light of the

ongoing negotiations regarding the inclusion of a provision for unlimited liability, which was not

included in the Guatemala Protocol of 1971. Id. ¶ 2:41, ¶ 2:46. During those meetings, it was

also suggested that the concepts of “residence” and “domicile” as used in the Article on

Jurisdiction “should be rendered more precise and defined to avoid confusion which might arise

from different perceptions of these terms.” Id. at ¶ 2:42. The United Kingdom, another common

law jurisdiction, specifically objected to the use of the word “domicile” as the basis for the fifth

jurisdiction as “the reference to domicile introduces a concept which is capable of unacceptably

wide meaning[,]” and demanded that “[a] more realistic association with a State for the purpose

of determining the value of damages must be residence.” Id. at ¶ 2:44; Ex. 9, SGMW/1-WP/17,

Comments on the Draft Text Approved by the 30th Session of the ICAO Legal Committee,

Comments on Article 27 Presented by the U.K., 7 April 1998 (emphasis added).

       In an effort to reach a compromise, the Special Group agreed to devise a generic,

universally applicable term such as a “permanent home” that would adequately capture the

concepts presently denoted by the terms “domicile”, “permanent residence”, or “ordinary

residence.” See Ex. 8, at ¶ 2:47. The development of the new concept was to be “guided by the

overriding consideration of devising adequate and acceptable connecting criteria between the

passenger and the State of the jurisdiction before which the claim is brought . . .” Id. at ¶ 2:48.

       Notably, as subsequent discussions revealed:

       a clear preference not to retain any reference to the phrase ‘to which, if absent, for
       less than three years, he or she intends to return’ as it was believed that the
       element of ‘intent’ opened the door to too many subjective criteria . . . a
       consensus was reached within the Group to indicate that in any future definition
       the criterion to be used for the determination of the passenger’s home be
       considered on the basis of the facts existing at the time of the accident.




                                                 12
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 24 of 57



Id. at ¶ 2:53 (emphasis added).

       Ultimately, the Special Group replaced the phrase “in which the passenger has his

domicile or permanent residence” with the place “in which at the time of the accident the

passenger has his or her principal and permanent residence,” and agreed that the determination

would be based only on objective facts contemporaneous with the time of the accident without

consideration of intent to return to a former residence. Thus, the Special Group specifically

tailored the wording of the fifth jurisdiction to highlight the importance of the passenger’s actual

residence at the time of the accident in question. This fact alone conclusively establishes that the

drafters intended that “principal and permanent residence” would mean something substantially

different from the concept of “domicile” as understood under United States law. See id. at ¶

2:113, ¶ 2:118; see also, Appendix 4, Revised Draft of Articles 16, 20 and 27, pp. 269-270.“[I]t

was the understanding of the group that the term ‘principal and permanent residence’ referred to

the one factual place where the passenger had his or her fixed and permanent abode.” Id. at ¶

2:114. Thus, even at this early stage in the drafting process there was a consensus that a

passenger’s subjective intent with respect to his or her actual residence could not be considered

in the determination of “principal and permanent residence” for purposes of the fifth jurisdiction.

             2.        The Minutes and Documents from the Drafting History of the
                       Montreal Convention Confirm the Drafter’s Goal of Divorcing
                       Subjective Intent from the Concept of “Principal and Permanent
                       Residence.”

       The conclusion that “principal and permanent residence” is to be determined by actual

residence at the time of the accident is further supported by the subsequent negotiations that took

place when the delegations convened in Montreal beginning May 10, 1999. By that time, it was

already agreed to eschew any concept which incorporated a passenger’s subjective intent. See,

e.g., Ex. 10, International Civil Aviation Organization, International Conference on Air Law,



                                                13
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 25 of 57



Vol. II, Documents, DCW Doc. No. 28 (“ICAO Documents”), Presented by the International

Union of Aviation Insurers, pp. 155-59 (noting that“[t]he substitution of ‘principal and

permanent residence’ for ‘domicile’ is welcomed. This signals a clear intent on the part of the

drafters which should aid subsequent interpretation.”). Nonetheless, considerable time was

devoted to developing the precise definition of “principal and permanent residence,” a process

which was contingent on the negotiations regarding potential provisions for unlimited liability

and other provisions designed to enhance consumer protections. See, e.g., Ex. 11, ICAO

Minutes, DCW-Min. FCG/2, Minutes of the Second Meeting of the “Friends of the Chairman”

Group, 18 May 1999, at p. 134; see also, Ex. 12. ICAO Documents, DCW Doc. No. 3, 9

November 1998; Ex. 13, ICAO Minutes, Minutes of the Third Meeting of the “Friends of the

Chairman” Group, 19 May 1999, at p. 147 (noting that during previous discussions the Group

recognized that the issue of compensation was intricately bound to the issue of jurisdiction).

       With respect to the fifth jurisdiction, there were concerns about the adequacy of a

jurisdictional provision based only on a passenger’s residence in that forum, which did not

ensure an adequate connection between the forum, the passenger and the carrier:

       An attempt had been made in paragraph 2 to circumscribe the conditions under
       which such a fifth jurisdiction could be invoked, and it was necessary to examine
       those conditions with great care in order to determine whether or not, if it were to
       be an acceptable basis, they were adequate to provide protection against the fears
       which had been expressed.

Id. at p. 148.

       The most critical opponent of the fifth jurisdiction was the French Delegation which

repeatedly expressed concern that the new concept of “principal and permanent residence” under

international law needed to be carefully defined to avoid subsequent interpretation by courts of

the State Parties by reference to pre-convention concepts such as “domicile” under U.S. common

law. See Ex. 14, ICAO Documents, DCW Doc No. 33, Article 27 – Fifth Jurisdiction (Presented


                                                14
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 26 of 57



by France), 17 May 1999, pp. 195-198 (emphasis added). In particular, France was concerned

that if not specifically defined, the new concept could be deemed to correspond to:

       . . . the notion of “permanent abode”, to which the person concerned intends to
       return even if he lives elsewhere temporarily. Such an interpretation could be
       easily given by the courts. It is therefore the claimant’s nationality which would
       become the decisive element. A citizen of a given country would thus be able to
       escape the jurisdiction of a foreign country and would have the assurance of being
       judged in his country in accordance with its legislation. A true jurisdictional
       privilege would thus be created.

Id. at p. 197 (emphasis added). Thus, the agreement to draft a precise definition of “principal and

permanent residence” in the Convention itself was intended to preclude courts from interpreting

the fifth jurisdiction by reference to a passenger’s subjective intent to reside somewhere other

than where he or she was actually residing at the time of the accident in question.

       The final definition in Article 33.3(b) was agreed upon as giving the new concept of

“principal and permanent residence” an objective, specific and precise content so that the fifth

jurisdiction would be based on the passenger’s actual residence and not his or her nationality. See

Ex. 15, ICAO Documents, DCW Doc No. 36 (Presented by France), 19 September [sic] 1999,

pp. 203-205. Importantly:

       This definition ensured that it was not possible to have several principal and
       permanent residences from among which to choose the most convenient one in
       which to bring an action. The last sentence had been added in light of the
       considerable concerns expressed regarding some jurisdictions which would view
       nationality as being equivalent to ‘principal and permanent residence.’

See Ex. 16, ICAO Minutes, Minutes of the Thirteenth Meeting of the Commission of the Whole,

25 May 1999, at pp. 204-205 (emphasis added).

       Consideration of the drafting history in its entirety overwhelmingly demonstrates that

Plaintiffs here cannot establish jurisdiction under Article 33.2 by reference to a decedent’s prior

residence in the United States or a decedent’s alleged intent to establish residence in the United

States at some future time. In fact, what the Plaintiffs who are asserting Article 33.2 jurisdiction


                                                15
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 27 of 57



here are attempting to accomplish is precisely what the drafters feared with regard to the addition

of the fifth jurisdiction. Notwithstanding that none of the Plaintiffs’ decedents maintained a

residence in fact in the United States at the time of the Accident, Plaintiffs invite this Court to

look back years before this Accident (or years into the future) and exercise subject matter

jurisdiction over MAS on the basis that some passengers on board Flight MH370 used to live in

the United States and nothing more than inadmissible hearsay regarding the Decedents’ alleged

subjective intention to someday return.

       Any such invitation must be rejected. The definition of “principal and permanent

residence” included in the Convention is clear and must be determined by reference to specific

and objective evidence. The inclusion of the phrase “at the time of the accident” specifically

precludes any conclusion that a passenger’s “principal and permanent residence” was located in

a country where the passenger was not living at the time of the accident but may have intended to

return to at some future time.

       The following observation by Judge Posner of the Seventh Circuit regarding “domicile”

as understood under United States law illustrates why the concept of “principal and permanent

residence” must be treated as a new concept under international law:

       . . . [I]n this age of second homes and speedy transportation, picking out . . . an
       individual’s domicile can be a difficult, even rather arbitrary, undertaking.
       Domicile is not a thing, like a rabbit or a carrot, but a legal conclusion, though
       treated as a factual determination for purposes of demarcating the scope of
       appellate review.

       Galva Foundry Company v. Heiden, 924 F.2d 729, 730 (7th Cir. 1991) (Posner, J.).

Unlike “domicile,” the drafters ensured that “principal and permanent residence” was defined by

reference to a tangible thing – an abode – which can be located based on objective facts without

consideration of any subjective intent. Accordingly, because all of the decedents in the above-

captioned cases were residing in identifiable abodes outside of the United States at the time of


                                                16
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 28 of 57



the Accident, Article 33.2 cannot provide a basis for this Court to exercise subject matter

jurisdiction over these cases and this Court should not be burdened to undertake the fact-

intensive inquiry into any of the Decedent’s subjective intent, undoubtedly to be based on

hearsay, to live somewhere else at some future time.

       C.     The Cases Importing the Concept of “Domicile” into the Definition of
              “Principal and Permanent Residence” are based on Flawed Reasoning and
              are in Derogation of the Plain Language of Article 33.3.

       Despite the clear meaning of Article 33.2 and 33.3, certain Plaintiffs’ do make allegations

regarding the decedent’s “intent” to return to the United State or that the decedent had never

“relinquished” his or her permanent residency or “domicile” in the United States. These

allegations establish, by their very nature, that none of these decedents were residing in the

United States at the time of the accident, and that, MAS contends, should be the end of the

inquiry.

       Although not alleged in their complaints, these Plaintiffs have pointed to certain district

court decisions as support for their reliance on the concept of “domicile” for purposes of

determining a passenger’s “principal and permanent residence” under Art. 33.2. See, e.g., Choi v.

Asiana Airlines, Inc., No. 14-cv-03738, 2015 WL 394198 (N.D. Cal. Jan. 29, 2015)(interpreting

“principal and permanent residence” as akin to concept of “domicile,” requiring evaluation of

objective facts establishing actual residence and passenger’s subjective intent to remain in that

residence); In Re Air Crash Over Mid-Atlantic on June 1, 2009, 760 F. Supp. 2d 832 (N.D. Cal.

2010) (“In Re Air Crash”)(treating “principal and permanent residence” like “domicile” under

United States jurisdictional jurisprudence); Hornsby v. Lufthansa German Airlines, 593 F. Supp.

2d 1132 (C.D. Cal. 2009) (same).

       Those decisions may have been made without the benefit or consideration of the

complete drafting history, the overwhelming weight of which establishes that there is no room


                                               17
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 29 of 57



for consideration of a passenger’s subjective intent for purposes of determining his or her

“principal and permanent residence.” Even without the complete drafting history, MAS

respectfully contends that the cases relied on by Plaintiffs were incorrectly decided because there

is no support in the text of Article 33.2 for adding the concept of “domicile” as the basis for

determining “principal and permanent residence,” as the definition of Article 33.3(b) is clear. See

Chan v. Korean Air Lines, Ltd., 490 U.S. 122, 135 (1989) (where text of a treaty is clear, court

may not “alter, amend, or add to any treaty, by inserting any clause, whether small or great,

important or trivial.”) (citation omitted).

        More importantly, those decisions are not binding on this Court and were also factually

dissimilar to the facts of the cases at issue here. They also perpetuate the notion that any U.S.

Citizen or Lawful Permanent Resident living abroad for however long and under whatever

circumstances may maintain an action under the Montreal Convention in the courts of the United

States simply by alleging an intention to reside in the United States at some as-yet-unknown time

in the future. As demonstrated amply above, Article 33.2 was not intended to create such a

jurisdictional privilege based solely on citizenship or an immigration status.

        The determination of a passenger’s “principal and permanent residence” by reference to a

passenger’s subjective future intent would render the question of jurisdiction under Article 33.2 a

mixed question of law and fact, requiring extensive discovery in essentially every case in which

“principal and permanent residence” is alleged. As the cases here demonstrate, the problems with

considering subjective intent are particularly acute in wrongful death cases where the passenger

is unable to corroborate any allegations that may be asserted on behalf of the estate to

manufacture jurisdiction in a particular forum. Accordingly, this Court must reject Plaintiffs’




                                                18
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 30 of 57



invitation to consider any evidence other than the objective facts establishing where the decedent

was actually living at the time of the accident.

       D.      While Irrelevant, Plaintiffs Do Not Have Any Admissible Evidence of Any
               Decedent’s Future Subjective Intent which Would Be Sufficient to Establish
               Domicile even under Standards of Federal Common Law.

       Finally, even if this Court finds that “domicile” is the test and subjective intent is relevant

for purposes of establishing the fifth jurisdiction, which MAS disputes, the available information

demonstrates that none of the Plaintiffs can establish any Decedent was domiciled in the United

States on the date of the Accident. It should be noted that MAS is filing its Motions in

compliance with this Court’s Initial Scheduling Order [ECF No. 14] without the benefit of

Plaintiffs’ complete discovery responses. For the avoidance of doubt, MAS specifically reserves

the right to rely on any information produced in the course of ongoing discovery and raise

arguments in its Reply based on any subsequently discovered information. Even on the current

record, however, it is apparent that Plaintiffs cannot satisfy their burden of proving domicile in

the United States at the time of the Accident for any Decedent.

       While irrelevant for purposes of determining whether the United States is an available

forum under the Montreal Convention, the Plaintiffs who rely on Article 33.2 cannot even

establish domicile in the United States utilizing the standards for determining domicile under

federal common law. See, e.g., Mississippi Band of Choctaw Indians v. Holyfield, 490 U.S. 30,

43-47, 109 S.Ct. 1597 (1989) (“Holyfield”) (holding uniform federal law of domicile applied to

determining jurisdiction under Indian Child Welfare Act as federal statutes are generally

intended to have uniform nationwide application); Sadat v. Mertes, 615 F.2d 1176, 1180 (7th

Cir. 1980) (per curiam) (holding standards for determining domicile in context of diversity

jurisdiction found by resort to federal common law.). Domicile has been described as the place

where a person has his or her true fixed home and principal establishment and to which,


                                                   19
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 31 of 57



whenever he or she is absent, he or she has the intention of returning. Linardos v. Fortuna, 157

F.3d 945, 948 (2d Cir. 1998) (citing 13B C. Wright, A. Miller & E. Cooper, Federal Practice

and Procedure § 3612, at 526 (2d ed. 1984)).

        One acquires a “domicile of origin” at birth, based on the domicile of one’s parents, and

there is a presumption that the domicile continues until a person reaches the age of majority and

effects a change of domicile (the “domicile of choice”). Holyfield, 490 U.S. at 48; Mitchell v.

United States, 88 U.S. 350, 353, 22 L.Ed. 584 (1874). A person can have only one domicile at

any given time, and there is a presumption of domicile in the place of residence. Seales, 2009

WL 395821, at *6. Indeed, the presumption of continuance of domicile is met by the strong

counter-presumption of domicile in the jurisdiction where the individual is a resident at the

crucial time – which here is the date of the Accident.6 See Slaughter v. Toye Bros. Yellow Cab

Co., 359 F.2d 954, 956 (5th Cir. 1966). The concept of domicile “imports permanent residence in

a particular state with the intention of remaining, and is not dependent on birth. Residence alone

is not the equivalent of citizenship, although the place of residence is prima facie the domicile.”

Stine v. Moore, 213 F.2d 446, 448 (5th Cir.1954). To establish domicile, two things are

indispensable:

        First, residence in the new locality; and, second, the intention to remain there. The
        change cannot be made except facto et animo. Both are alike necessary. Either
        without the other is insufficient. Mere absence from a fixed home, however long
        continued, cannot work the change. There must be the animus to change the prior
        domicile for another. Until the new one is acquired, the old one remains. These
        principles are axiomatic in the law upon the subject.



6
  The burdens of proof and production with respect to establishing domicile in the context of diversity jurisdiction
are complicated and shifting depending on the party asserting jurisdiction, whether they are relying on domicile of
origin or domicile of choice and whether they are attempting to show a continuing domicile or establishment of
domicile in the jurisdiction of residence. See Freidrich v. Davis, 767 F.3d 374, 379 (3d Cir. 2014); MAS notes that
this Court can avoid sorting out the shifting burdens of production and persuasion and the fact-intensive domiciliary
inquiry in these cases by dismissing all cases on the ground of forum non conveniens. See Sinochem Intern. Co. Ltd
v. Malaysia Intern. Shipping Corp., 549 U.S. 422, 436 (2007).


                                                        20
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 32 of 57



Mitchell, 88 U.S. at 353 (emphasis in original); see also, McCormick v. Aderholt, 293 F.3d 1254,

1258 (11th Cir. 2002); Gutierrez v. Fox, 141 F.3d 425, 427-28 (2d Cir. 1998) (collecting cases).

“The place where a person lives is taken to be his domicile until facts adduced establish the

contrary.” Mitchell, 88 U.S. at 352.

       Here, the crucial date is the time of the Accident and it is undisputed that all of the

Decedent Passengers resided outside of the United States on that date. Specifically, Wood had

moved from China and was residing, or establishing his residence, in Kuala Lumpur, Malaysia

with his partner, and Mukherjee and Bai, Leo and Nicole Meng, and Meng Zhang were all

residing in China with their families. Accordingly, there is a strong presumption of domicile in

those countries – not the United States. Plaintiffs, as the party asserting jurisdiction, bear the

burden of proving facts to overcome that presumption by a preponderance of the evidence.

Linardos, 157 F.3d at 947 (citing McNutt v. General Motors Acceptance Corp., 298 U.S. 178,

189 (1936)); McCormick, 293 F.3d at 1257; Gutierrez, 141 F.3d at 427.

       Courts have held that determination of an individual’s domicile involves a number of

factors, including: current residence, voting registration and voting practices, location of personal

and real property, location of brokerage and bank accounts, location of spouse and family,

membership in unions and other organizations, place of employment or business, driver’s license

and automobile registration, and payment of taxes. Lew v. Moss, 797 F.2d 747, 750 (9th Cir.

1986) (collecting cases). These factors serve as a proxy for locating the “center of gravity” of a

person’s life and no single factor is controlling. Id.; Galva Foundry Co., 924 F.2d at 730.

Importantly, they are evaluated in terms of objective facts and although domicile involves an

element of state of mind, “statements of intent are entitled to little weight when in conflict with

facts.” Lew, 797 F.2d at 750 (quoting Freeman v. Nw. Acceptance Corp., 754 F.2d 553, 556 (5th




                                                 21
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 33 of 57



Cir. 1985)(quoting Hendry v. Masonite Corporation, 455 F.2d 955, 956 (5th Cir. 1972), cert.

denied sub nom., Masonite Corp. v. Hendry, 409 U.S. 1023 (1972)); see also, Sadat, 615 F.2d at

1181 (explaining intent is a state of mind which must be evaluated through the circumstantial

evidence of a person’s manifested conduct and affording little weight to plaintiff’s disclaimed

intention of settling abroad where plaintiff’s conduct conflicted with disclaimed intent.); Stine,

213 F.2d at 448 (explaining mere mental fixing of domicile is insufficient; what is in another’s

mind must be determined by what he does as well as what he says.). In these wrongful death

cases, the domicile that counts is domicile of the decedent on the date of the Accident. See King

v. Cessna Aircraft Co., 505 F.3d 1160, 1170 (11th Cir.2007)(in context of determining diversity

jurisdiction where estate is a party, citizenship that counts is that of the decedent and decedent is

deemed to be citizen of the state where he/she was domiciled at time of his/her death).

         Here, jurisdiction under Article 33.2 is alleged as to the following six passengers on

Flight MH370: Muktesh Mukherjee and Xiao Mo Bai in Ganguli v. Malaysia Airlines Berhad, et

al., No. 1:16-cv-01047-KBJ; Philip Wood in Wood v. Malaysia Airlines Berhad, et al., No. 1:16-

cv-00053-KBJ; and Leo and Nicole Meng and Meng Zhang in Smith v. Malaysia Airlines

Berhad, et al., No. 1:16-cv-00439-KBJ / Zhang, et al. v. Malaysia Airlines Berhad, et al., No.

1:16-cv-01048-KBJ / Huang, et al. v. Malaysia Airlines Berhad, et al., No. 1:16-cv-01063-KBJ.7

None of these passengers had a residence/abode in the United States and for the reasons

discussed below, Plaintiffs have not produced the objective documents and information

necessary to overcome the presumption that they were domiciled outside of the United States in

China or Malaysia where they were residing at the time of the Accident. Accordingly, this Court



7
 Because no other Plaintiff has specifically alleged Article 33.2 Jurisdiction in these cases, MAS submits that these
Plaintiffs, other than those identified herein, have conceded that Article 33.2 is not applicable to their cases. Based
on the lack of allegations, MAS does not address them specifically herein.


                                                         22
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 34 of 57



must dismiss all of the above-captioned cases for lack of subject matter jurisdiction under Article

33.2 of the Montreal Convention.

              1.         Muktesh Mukherjee and Xiao Mo Bai’s “Principal and Permanent
                         Residence” and Domicile was in China where they were Residing with
                         their Children.

        The facts in the Ganguli matter (16-cv-01047-KJB) overwhelmingly demonstrate that

decedents Muktesh Mukherjee (“Mukherjee”) and Xiao Mo Bai (“Bai”) were domiciled in China

and exemplify the precise concerns the Montreal Convention drafters had regarding the addition

of the fifth jurisdiction. Specifically, the facts establish that Mukherjee, an Indian citizen by

birth, and Bai, a Chinese citizen by birth, had become Canadian citizens by law and were

married in Canada, which they claimed as their domicile, in 2002.8 In 2005, Mukherjee accepted

a temporary assignment in Chicago, Illinois through August, 2008, with the U.S. subsidiary of

his Canadian employer, Mittal Steel, and the couple relocated to the United States from Canada.9

While in Chicago, Illinois they obtained Permanent Resident Status based on Mukherjee’s

classification as a Manager of a Multinational Corporation.10 The couple also purchased a

condominium in Chicago where they resided for only a short time.11

        As projected, in 2008, Mukherjee’s U.S. assignment came to an end and Mukherjee

agreed to take another international assignment with his employer, by that time known as

ArcelorMittal, in China to work on a specific project that was expected to last an unspecified

duration of over one year.12 Mukherjee thereafter moved his family to Beijing, China and

established a residence at Central Park Residences, 6 Chaoyangmenwai Avenue, Tower 15, Unit


8
  See Ex. 17, Marriage Certificate and Canadian Passports.
9
  See Ex. 18, Relevant pages from Mukherjee’s L-1A Application, dated August 11, 2005; Ex. 19, Notice of action
approving L-1A Application, dated August 16, 2005.
10
   See Ex. 20, Relevant pages from Mukherjee’s I-485 Application dated October 30, 2006 and U.S. Government
Issued Identification for Mukherjee and Bai.
11
   See Ex. 21, Deed to 663 W. Wellington Ave. Property, dated January 13, 2006.
12
   See Ex. 22, Application for Travel Document dated September 18, 2008.


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         Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 35 of 57



2003, Beijing, 100020, China, by at least November 24, 2008.13 At the time of the Accident, on

March 8, 2014, the Mukherjee family was residing at the same address, although by May of 2012

Mukherjee had accepted further employment in China with a different employer, Xcoal Energy

& Resources (“Xcoal”).14 Thus, while his employment changed, the family’s residence remained

the same, an objective fact which squarely negates any alleged inference that Mukherjee’s

employer, as opposed to Mukherjee and Bai themselves, controlled the location where the family

lived.

         There is no objective evidence that the Mukherjee family had any set plans to leave

China at the time of the Accident. More importantly, the objective facts establish that they had

no residence in the United States, as at all times while they were residing in China their Chicago

condominium was leased and occupied by tenants.15 Although Plaintiff’s responses to written

discovery suggest that Plaintiff would like to ignore the Mukherjee family’s residence in China

from the period of November 2008 through 2012 while Mukherjee was employed by

ArcelorMittal, prior to his subsequent employment at Xcoal from 2012 to the date of the

Accident on March 8, 2014, the salient facts of their residency in China during those years are an

essential factor supporting domicile in China. See Hawes v. Club Ecuestre El Comandante, 598

F.2d 698, 699 (1st Cir. 1979).

         While Plaintiff has tried to gloss over the Mukherjee family’s continuous residence in

China for over five years – from at least November 2008 until the date of the Accident on March


13
   See Ex. 23, Relevant pages from Mukherjee/Bai 2009 Joint U.S. Tax Return, Form 2555.
14
   See Id.; Ex. 24, Relevant pages from Mukherjee/Bai 2010 Joint U.S. Tax Return; Ex. 25, Relevant pages from
Mukherjee/Bai 2011 Joint U.S. Tax Return; Ex. 26, Relevant pages from Mukherjee/Bai 2012 Joint U.S Tax Return;
See also Ex. 27, Mukherjee Xcoal Employment Agreement; Ex. 28, Xcoal Lease Agreement for 6 Chaoyangmenwai
Avenue, Tower 15, Unit 2003, Beijing, 100020, China dated November 8, 2012.
15
   See Ex. 23, at Schedule E; Ex. 24, at Schedule E; Ex. 25, at Schedule E; Ex. 26, at Schedule E; Ex. 29,
Relevant pages from Mukherjee/Bai 2013 Joint U.S. Tax Return, at Schedule E; Ex. 30, Relevant pages from
Mukherjee/Bai 2014 Joint U.S. Tax Return, at Schedule E; see also Ex. 31, Lease and Lease Renewal for 663 West
Wellington Ave., Chicago, Illinois for Period from December 31, 2011 through March 31, 2015.


                                                     24
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 36 of 57



8, 2014 – the Plaintiff does not dispute the facts. The dispute, rather, concerns the proper

interpretation of the objective facts. Plaintiff claims that Mukherjee and Bai were domiciled in

the United States and living in China only on a temporary assignment, while always intending to

return to the United States. But that begs the question: if Mukherjee’s temporary assignment in

the United States for three years was sufficient to effect a change of domicile from Canada to the

United States, why was the “temporary assignment” in China insufficient to again effect a

change in domicile from the United States to China? Plaintiff cannot have it both ways. See, e.g.

Sadat, 615 F.3d at 1181-82.

       Plaintiff relies almost exclusively on the fact that Mukherjee and Bai owned real estate in

the United States and maintained a few other contacts with this country during the over five

years the family was residing in China. As discussed above, the fact that Mukherjee and Bai

owned real estate in the United States that they treated as rental property for over five years is

not evidence of domiciliary intent. The fact that Mukherjee and Bai had no right to reside at that

property – given that it was subject to leases and legal occupancy by tenants for over five years –

and had no actual place where they resided in the United States weighs heavily against domicile.

See Core VCT PLC v. Hensley, 89 F. Supp. 3d 110, 110-11 (D.D.C. 2015) (Plaintiff’s claim of

Defendant’s domicile rejected because “[I]t is uncontested that defendant had nowhere to live in

Illinois; he has leased out his Chicago condominium since he moved to France in 1989, and the

Court agrees that ‘[t]he lack of an Illinois residence weighs heavily against domicile.”).

       Nor are other contacts with the United States for the apparent purpose of leaving their

future options open sufficient to overcome the overwhelming evidence of domicile in China. See

Freidrich v. Davis, 767 F.3d 374, 379 (3d Cir. 2014) (fact that Defendant completed Registration

and Ballot Request Form stating he was a U.S. citizen living abroad and intended to return to the




                                                25
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 37 of 57



United States did not satisfy the preponderance of the evidence standard for Plaintiff to establish

continuing domicile after Defendant produced sufficient evidence supporting change of domicile

where Defendant explained he made the selection on the form because he could not rule out the

possibility that he may one day return to the U.S.; “History, and the uncertainty of the world

situation, show the wisdom of that caution.”).

       In reality, Mukherjee and Bai never established a domicile of choice in the United States

during their temporary residence in this country from 2005-2008. The contention to the contrary

is belied by the fact that Bai, after moving to Chicago, pursued and obtained Canadian

citizenship in 2006. This establishes by objective evidence that Mukherjee and Bai did not

abandon their domicile in Canada upon relocating to the United States in 2005. See Ex. 32,

Mukherjee/Bai Family Certificates of Canadian Citizenship. Similarly, although their two minor

children were both born in the United States and were thus U.S. citizens by operation of law, the

couple registered their sons’ Canadian citizenship and obtained Certificates of Canadian

Citizenship for the children within 6-7 months of each child’s birth. Id. Mukherjee and Bai also

secured a Canadian passport for their eldest son while the family was residing in China. See Ex.

33, Copies of Canadian Passports of M.Q.M. and M.J.M.

       Even if the evidence were sufficient to show Mukherjee and Bai established a domicile of

choice in the United States while the family lived here from 2005-2008, the objective facts

require the conclusion that the move to China again effected a change of domicile. Indeed, the

following additional facts establish that China was the “center of gravity” of the Mukherjee

family’s life on the date of the Accident:

       •   Bai’s parents, Chinese citizens, resided near the Mukherjee family in China;

       •   Mukherjee’s parents reside in India and neither Mukherjee nor Bai had any
           immediate family in the United States;


                                                 26
      Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 38 of 57




       •   In 2012, after his employment with ArcelorMittal ended, rather than return “home” to
           Chicago and their purported domicile in the United States, Mukherjee took yet
           another position stationed in Beijing with Xcoal, a different U.S. company, as the
           Vice President, China Operations & Chief Representative, Xcoal China
           Representative Office with a term from May 14, 2012 through April 30, 2015, subject
           to automatic renewal for one-year terms in the absence of notice of non-renewal.
           There is no objective evidence either party ever gave such notice;

       •   The term of the Xcoal’s lease of the apartment where the family had been living since
           2008, was for the period from January 1, 2013 through July 15, 2015 is objective
           evidence that the parties contemplated a continuing employment relationship beyond
           the April 30, 2015 “Ending Date” set forth in the Xcoal Employment Agreement. See
           Ex. 28.

       •   Mukherjee had a Chinese Alien Worker Permit which was valid through 2017; See
           Ex. 34, Chinese Work Permit Issued July 30, 2012;

       •   Mukherjee reported deposit accounts with Chinese financial institutions in the
           couple’s U.S. Tax Returns; See Ex. 23, at p. 4, Schedule B; Ex. 24, at p. 4, Schedule
           B; Ex. 25, at p. 4, Schedule B; Ex. 26, at p. 3, Schedule B; Ex. 29, at p. 3, Schedule
           B, at pp, 6-8, Form 8938; Ex. 30, at p. 3, Schedule B, at pp. 5-7, Form 8938 ; and

       •   Mukherjee paid taxes in China from 2009-2014, see Ex. 35, Chinese Tax Records,
           2009-2014. Although the couple paid Illinois State Income tax in 2008, see Ex. 36,
           2008 Form 1040-IL, they did not pay income tax to any State within the United States
           any year thereafter, except approximately $200 in 2009.

       For all of these reasons, the objective facts require the conclusion that Mukherjee and Bai

were domiciled in China, as Plaintiff cannot overcome the strong presumption of domicile at the

place of residence on the date of the Accident. Plaintiff simply cannot establish that Mukherjee

and Bai were ever domiciled in the United States, much less that they had their “principal and

permanent residence” here for purposes of the Montreal Convention. Accordingly, Plaintiff

cannot establish jurisdiction under Article 33.2 of the Montreal Convention and, unless Plaintiff

can establish jurisdiction under one of the available bases pursuant to Article 33.1, which he

cannot, this Court lacks subject matter jurisdiction and must dismiss the Ganguli matter, No.

1:16-cv-01047-KBJ.



                                               27
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 39 of 57



              2.        Philip Wood’s “Principal and Permanent Residence” and Domicile
                        was in Malaysia where he was Residing with his Partner.

        Philip Wood was domiciled in Kuala Lumpur, Malaysia at the time of the Accident

where he was physically present and residing with the intent to remain. As discussed above,

domicile requires physical presence, i.e. a residence in fact, coupled with a certain state of mind

concerning one’s intent to remain there. Holyfield, 490 U.S. at 48. Wood was a United States

citizen and until the end of 2010 he was a resident of the State of Texas where he resided with

his wife, with whom he had two sons, and worked for IBM.16 At some time, Wood and his wife

separated. By January 1, 2011, Wood had moved to China to start a nearly three-year

international assignment at IBM’s office in Beijing beginning March 1st and projected to end on

December 31, 2013.17

        Although Plaintiff has not produced the Employment Agreement between Wood and

IBM-China setting forth the terms of that agreement or any lease documents evidencing Wood’s

residence in China, the Summary of Allowances indicates IBM reimbursed Wood for the costs of

establishing a residence in China while he worked and resided there.18 Id. Wood’s 2011 U.S. Tax

Return also indicates Wood was residing abroad and he reported having a financial interest in or

signature authority over at least one financial account in China.19 Accordingly, Wood’s domicile

changed from the United States to China as early as January of 2011 when he moved there,

established a residence in fact, and intended to remain for at least the next three years. See Sadat,

615 F.2d at 1181.




16
   See Ex. 37, Resume of Philip Wood, produced by Plaintiff.
17
    See Ex. 38, Summary of Allowances while on International Assignment in Beijing produced by Plaintiff
(“Summary of Allowances”).
18
   Id.
19
   See Ex. 39, Relevant pages from Wood’s 2011 Joint U.S. Tax Return produced by Plaintiff, at Form 1040 and
Schedule B.


                                                    28
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 40 of 57



        This conclusion is consistent with the objective fact that Wood and his wife reported the

sale of their “home” in their 2012 Joint Federal Tax Return for that year.20 Further, by the time

Wood filed his 2013 U.S. Tax Return, he and his wife had divorced.21 Thus, the objective

evidence demonstrates that Wood had no residence in the United States and, as in the Ganguli

matter, this fact weighs heavily against continuing domicile in the United States. See Core VCT

PLC, 89 F. Supp. 3d at 110-11 (“lack of . . . residence weighs heavily against domicile.”).

        Further, while domiciled in China, Wood met and developed a relationship with Sarah

Bajc. Although Wood’s assignment with IBM-China was projected to end December 31, 2013, at

which time he could have returned to his position in the United States, Wood negotiated and

accepted another two-year assignment in Kuala Lumpur with IBM-Malaysia in November of

2013, effectively extending the term of his Beijing assignment through February of 2014 and

further extending his international assignment in Malaysia through February of 2016, at least.22

Although Plaintiff has not produced any documentation showing any lease or other residence in

Malaysia, logic requires the conclusion that Wood had established his residence in Kuala

Lumpur at the time of the Accident. Thus, Wood’s entire course of conduct demonstrates that at

that time he had effected a change in his domicile from China to Malaysia where he intended to

remain through at least 2016, with the option to renew upon mutual agreement of the parties.23

        Accordingly, on the date of the Accident, Wood had a residence in fact in Malaysia, but

had no residence in the United States and therefore could not have been domiciled in the United

States. That Wood did not have a residence in Texas but did have a residence in both China and

Malaysia can be gleaned from travel documents Plaintiff produced in discovery. As those records


20
   See Ex. 40, Relevant pages from Wood’s 2012 Joint U.S. Tax Return produced by Plaintiff.
21
   See Ex. 41, Relevant pages from Wood’s 2013 Individual U.S. Tax Return produced by Plaintiff.
22
   See Ex. 42, Employment Letter and Agreement produced by Plaintiff; see also Ex. 38.
23
   See Ex. 42.


                                                      29
          Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 41 of 57



show, Wood had no need to make hotel arrangements as part of his round-trip itinerary from

Beijing to Kuala Lumpur, but he did require hotel accommodations during his separate side trip

from and to Kuala Lumpur which included an agreed stopover in Dallas, Texas, immediately

prior to the Accident.24 Nor did Wood list the Keller, Texas residence, claimed by Plaintiff, as

his address on his federal tax return in 2013.25

           Here, even if Wood’s employment in Beijing with IBM-China did not effect a change of

his domicile from Texas to Beijing, his subsequent agreement to accept the position with IBM-

Malaysia and move to Kuala Lumpur rather than return to the United States, was sufficient to

abandon any claim to a continuing domicile in the United States. See, Sadat, 615 F.2d at 1181;

Stine, 213 F.2d at 448 Any argument that Wood’s overseas employment and residence was

expected to be only of a temporary nature, or in the exercise of some particular profession, office

or calling is thus contradicted by Wood’s entire course of conduct over the years preceding the

Accident. See Stine, 213 F.2d at 448. Any testimony regarding Wood’s alleged oral

representations to Plaintiff or his children is inadmissible hearsay and in any event, should be

afforded little weight. Sadat, 615 F.2d at 1181 (citations omitted).

           Any person sui juris may make a bona fide change in domicile at any time. Stine, 213

F.2d at 448. Plaintiff here may attempt emphasize the presumption of continuing domicile to

gain the advantage of making the United States an appropriate forum for this wrongful death

lawsuit and to obscure the fact that this suit has absolutely no meaningful connection to the

United States. In reality, the circumstances of this case illustrate the improper application of the

concept of domicile for purposes of determining a person’s “principal and permanent residence.”

The presumption of continuing domicile was intended to address the problems created by a


24
     See Ex. 43, Wood’s Travel Records produced by Plaintiff showing hotel charges.
25
     See Ex. 41, at Form 1040.


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        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 42 of 57



“homeless wanderer” theory where diversity jurisdiction would be denied to any person with a

transient lifestyle because the individual lacked an intention to permanently reside anywhere. See

Core VCT PLC, 89 F. Supp. 3d at 111. For purposes of determining jurisdiction on the basis of

Article 33.2 of the Montreal Convention, however, those concerns are simply not implicated

because the definition of “principal and permanent residence” was drafted to avoid precisely

such problems.

        Plaintiff invites this Court to set a dangerous precedent that any United States citizen

living abroad for however long and under whatever circumstances may maintain an action

governed by the Montreal Convention in the courts of the United States simply by alleging

continuing domicile in the United States and intent to return at some indefinite date in the future.

That invitation must be declined. The only logical conclusion is that Wood’s “principal and

permanent residence” and domicile was in Malaysia on the date of the Accident, and Article 33.2

does not provide a basis for this Court to exercise subject matter jurisdiction over this matter.

               3.         Nicole and Leo Meng’s “Principal and Permanent Residence” and
                          Domicile was in China where they were Residing with their Chinese
                          Citizen Parents.

        The Plaintiffs in the Huang, et al., Zhang, et al., and Smith matters26 asserting claims for

the wrongful death of Leo and Nicole Meng, one- and three-year-old minor children residing

with their parents in China at the time of the Accident, also cannot establish that the infant

children were domiciled in the United States at the time of the Accident. Plaintiffs argue that the

children were domiciled in the United States solely on the basis that they were born in California


26
   The Plaintiffs asserting claims for the death of decedents Nicole and Leo Meng in the three lawsuits are as
follows: in Huang, et al., No. 1:16-cv-01063-KBJ, Plaintiff, Jin Liu, Individually and on behalf of the Estates of
Nicole and Leo Meng and on behalf of Jianguo Zhang, Huatian Hu and Luyue Zhang; in Zhang, et al., No. 1:16-cv-
01048-KBJ, Plaintiffs, Jianguo Zhang, Huatian Hu, Jin Liu and Luyue Zhang, Individually and as Representatives of
the Estates of Nicole and Leo Meng; and in Smith, No. 1:16-cv-00439-KBJ, Plaintiff, Elizabeth Smith, as Personal
Representative of the Spouses, Next of Kin, Other Statutory Beneficiaries, and the Estates of MH370 Passengers
Nicole Meng and Leo Meng.


                                                       31
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 43 of 57



and thus were U.S. citizens by operation of law, despite their actual residence with their Chinese

citizen parents in China. Contrary to Plaintiff(s)’ position, however, one’s domicile of origin is

not equated with place of birth. See Stine, 213 F.2d at 448 (domicile is not dependent on birth.).

Rather, the domicile of origin of a minor child is determined by the domicile of his or her parents

because minors are incapable of forming the requisite intent to establish a domicile. Holyfield,

490 U.S. at 48. These principles apply even where a child’s “domicile of origin” will be in a

place where that child has never been. Id.

        Here, Plaintiffs do not contend that Leo and Nicole Meng’s parents, Bing Meng and Yan

Zhang, were residing in the United States, much less domiciled here, at the time of the

Accident.27 Rather, Plaintiffs contend that Leo and Nicole “were citizens of the United States of

America and of the state of California, and were temporarily in China with no intent to ever

relinquish their citizenship . . . or domicile in the United States of America.” See Huang, et al. v.

Malaysia Airlines Berhad, et al., First Amended Complaint, at ¶ 8, No. 16-cv-01063-KBJ [ECF

No. 9]. Not only is this allegation without any legal foundation, it misses the obvious point that

these minor children never acquired domicile in the United States in the first place and one

cannot relinquish something which was never acquired. See, Ex Parte Petterson, 166 F. 536, 545

(D. Minn.1908)(citations omitted)(explaining authorities are unanimous in holding that during

minority the domicile of an infant continues to be the same as that of the person from whom he

took his domicile of origin, and changes only with the domicile of that person, thus the minor




27
  See Ex. 44, Plaintiffs’ Answers to MAS’s First Set of Interrogatories Regarding Threshold Motions for decedent,
Bing Meng (relevant answers marked); Ex. 45, Plaintiffs’ to MAS’s First Set of Interrogatories Regarding Threshold
Motions for decedent, Yan Zhang (relevant answers marked). MAS notes that while Plaintiffs’ discovery responses
are wholly insufficient under the Federal Rules of Civil Procedure and are also unverified, MAS relies on those
answers to the extent they demonstrate that Plaintiffs are foreclosed from establishing Leo and Nicole Meng’s
domicile in the United States as a matter of law


                                                       32
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 44 of 57



was absolutely incapable of acquiring domicile in the U.S. during her minority despite physical

presence in the United States) (emphasis added).

         Plaintiffs’ efforts to confuse the record are also unavailing. For example, Plaintiffs claim

that the family resided in California from 2010 to 2011 and again in 2012 but cannot identify any

residential address.28 Nicole Meng was born on December 31, 2010 and her passport was issued

on January 10, 2011.29 Leo Meng was born in California on August 9, 2012 and his passport was

issued on August 22, 2012.30 Thus, while it certainly appears correct that at least the mother of

the family was present in the United States from December 2010 through January 2011, and

again in August of 2012, Plaintiffs have produced absolutely no objective evidence that the

family ever established a residence, let alone domicile, during the brief time they were present in

this country.

        For all of these reasons, Leo and Nicole Meng were domiciled in China on the date of the

Accident as a matter of law. Accordingly, Article 33.2 cannot provide a basis for this Court’s

exercise of subject matter jurisdiction over the wrongful death claims asserted on behalf of the

Estates of Nicole and Leo Meng.31

                4.        Meng Zhang’s “Principal and Permanent Residence” and Domicile
                          was in China where she was Residing with her Husband.

        Similarly, Plaintiff’s reliance on decedent Meng Zhang’s (“Zhang”) status as a United

States Lawful Permanent Resident does not mean she was domiciled in the United States on the

date of the Accident. Zhang was born in China to Chinese citizen parents residing in China and




28
   See Ex. 44, at Answer to Interrogatory No. 3.
29
   See Ex. 46, Nicole Meng U.S. Passport.
30
   See Ex. 47, Leo Meng U.S. Passport.
31
   The same result is required with respect to the Plaintiffs asserting claims for the wrongful death of the family
members who were also aboard Flight MH370 – specifically, Bing Meng and Yan Zhang, the children’s parents, and
Fanquan Meng and Chuane Xu, the children’s paternal grandparents.


                                                        33
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 45 of 57



therefore her domicile of origin is China, where she resided until at least 2005.32 In or around

2005, just before she turned twenty-one, Zhang applied for derivative asylum in the United

States as the child of a person granted asylum.33 In 2008, Zhang applied for and was granted

Permanent Resident status by the United States Department of Customs and Immigration

Services based on her derivative asylee status.34

        In 2012, however, Zhang returned to China and married her husband, Peng Yan, with

whom she was traveling on Flight MH370.35 At the time of the Accident, she was residing in

China with her husband and his parents, establishing that Zhang’s domicile at the time of the

Accident was China, not the United States.36 Plaintiff’s efforts to characterize Zhang’s home at

11 Dapu Village, Miaoli Town, Jinshui District, Zhengzhou City in Henan Province, China with

her husband and his parents as Zhang’s “temporary address” is plainly a contrivance to bolster a

claim for U.S. jurisdiction and is contradicted by the objective facts.37

        The only logical conclusion to be drawn from the objective evidence and documentation

is that the “center of gravity” of Zhang’s life and thus her domicile at the time of the Accident

was in China, not the United States. See United States v. Scott, 472 F.Supp. 1073, 1079 (N.D. Ill.

1979) (“[T]he residence of a spouse and other family members is a highly persuasive indication

of the place intended as a permanent home.”) (citing Broadstone Realty Corp. v. Evans, 213 F.

Supp. 261, 265 (S.D.N.Y.1962)). Therefore Article 33.2 does not provide a basis for this Court’s

exercise of subject matter jurisdiction over this wrongful death claim and this Court should grant



32
   See Ex. 48, Birth Notarial Certificate.
33
   See Ex. 49, Form I-797C Notice dated September 22, 2005.
34
   See Ex. 50, I-485 Application to Register Permanent Residence or Adjust Status, Approved December 9, 2008.
35
   See Ex. 51, Answers to MAS’s First Set of Interrogatories regarding Threshold Issues for Meng Zhang, at Answer
to Interrogatories Nos. 2-3.
36
   Id.; see also, Ex. 52, Answers to MAS’s First Set of Interrogatories regarding Threshold Issues for Peng Yan, at
Answer to Interrogatories Nos. 2-3.
37
   See Ex. 51, at Answer to Interrogatory No. 3.


                                                        34
        Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 46 of 57



this Motion in favor of MAS and against the Plaintiffs in the Huang, et al., Zhang, et al., and

Smith matters.38

II.     Plaintiffs Cannot Establish Article 33.1 Jurisdiction Because the United States is Not
        the Location of MAS’s Place of Business Through Which the Decedents’ Contracts
        of Carriage Were Made

        A number of Plaintiffs also allege Montreal Convention jurisdiction under Article 33.1

claiming that they purchased a ticket through a travel agent located in the United States,

notwithstanding that none of the decedent passengers were present in the United States. The

proper focus of any inquiry regarding Montreal Convention Article 33.1 jurisdiction relates to

the carrier’s place of business through which the contract of carriage was made.                  As set forth

above, Article 33.1 provides that “[a]n action for damages must be brought, at the option of the

plaintiff, in the territory of one of the States Parties . . . before the court . . . where [the carrier]

has a place of business through which the contract has been made . . .”

        Although Plaintiffs concede that none of the passengers were physically present in the

United States when they offered to purchase the transportation which included Flight MH370,

certain Plaintiffs allege that because the passenger used booking procedures that involved travel

agencies or online reservation systems with a physical address in the United States, that

transforms those third-parties’ physical addresses into MAS’s “place of business through which

the contract was made” and is sufficient to establish the United States as a proper forum for these

wrongful death lawsuits. Specifically, the Plaintiff in the Wood matter, No, 1:16-cv-00053-KBJ,

alleges that although Wood was physically present in Malaysia when he offered to purchase the

transportation on Flight MH370, the United States is “[MAS’s] . . . place of business through
38
   The Plaintiffs asserting a claim for the death of decedent, Meng Zhang, in the three cases are as follows: in
Huang, et al., No. 1:16-cv-01063-KBJ, Plaintiff, Min Huang, Individually and on behalf of the Estate of Meng
Zhang and Zhaojun Zhang; in Zhang, et al., No. 1:16-cv-01048-KBJ, Plaintiffs Min Huang and Zhaojun Zhang,
Individually, and as representatives of the Estate of Meng Zhang; and in Smith, No. 1:16-cv-00419-KBJ, Plaintiff,
Elizabeth Smith, as Personal Representative of the Spouses, Next of Kin, Other Statutory Beneficiaries, and the
Estate of Meng Zhang.


                                                       35
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 47 of 57



which the contract [with Wood] was made” because, in accordance with IBM’s business travel

procedures, he accessed IBM’s intranet which connected to an online reservation system using

American Express as its travel agent to arrange the booking request. Similarly, the Plaintiff in the

Ganguli matter, No. 1:16-cv-01047-KBJ, alleges that the United States is “[MAS’s] . . . place of

business through which the contract [with Mukherjee and Bai] was made” because Mukherjee

asked his employer’s corporate travel agent with a physical address in Oakdale, Pennsylvania, to

arrange the booking request and transmit payment information to MAS in Malaysia. Finally, the

Plaintiff in the Gaspard matter, No. 1:16-cv-00419-KBJ, alleges that the United States is

“[MAS’s] . . . place of business through which the contract [with Rui Wang, Wei Wei Jiao and

Shu Ling Dai] was made” because decedent Rui Wang accessed Orbitz’s website from a

computer in China and arranged a reservation request and Orbitz’s physical address is located in

Chicago, Illinois. Established contract principles and the policies underlying the Montreal

Convention, however, preclude any such conclusion.

       The third provision of Article 33.1 providing for jurisdiction where the “[carrier] . . . has

a place of business through which the contract was made” does not provide this Court with a

basis to exercise subject matter jurisdiction over these wrongful death actions. Pursuant to the

Montreal Convention, whether the United States is an appropriate forum depends on whether the

contract between the carrier and the passenger was formed at the carrier’s place of business in

the United States. Boyar v. Korean Air Lines, 664 F. Supp. 1481, 1483-84. Plaintiffs who allege

that this provision provides this Court with jurisdiction over these lawsuits rely on the fact that

courts in this country have, somewhat carelessly, stated that the contract was made where the

passenger’s “ticket was purchased or issued.” Id.




                                                36
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 48 of 57



       The applicability of the Montreal Convention, however, is premised on a contract of

carriage that arises from the relationship between the “carrier” and the “passenger.” Block v.

Compagnie Nationale Air France, 386 F.2d 323, 330 (5th Cir.1967). That contractual

relationship is formed upon mutual consent, i.e. the passenger must consent to the carrier

undertaking the international transportation of the passenger from one designated spot to another

and the carrier likewise must consent to transport the passenger on the particular route and date

for the particular fare. Id. at 330-31; Boyar, 664 F. Supp. at 1485. It is the place where this

mutual consent occurs that constitutes “the place of business through which the contract has been

made” for purposes of the third provision of Article 33.1. Boyar, 664 F. Supp. at 1485.

       Moreover, consistent with the policies underlying the jurisdictional provisions of the

Montreal Convention, the place where mutual consent occurs cannot be altered by the procedure

a passenger uses to make an offer to book carriage on a particular flight or the sequence of events

through which the ticket – evidencing the mutual consent previously formed – was delivered to

the passenger. See, e.g., Kapar v. Kuwait Airways Corp., 663 F. Supp. 1065, 1067 (D.D.C.1987)

(finding contract of carriage entered into in Yemen “and that fact is not altered by the procedure

through which reservations were made through a carrier not operating the flight at issue . . .

whatever else may flow from the sequence of events through which the ticket was issued to

plaintiff, it did not transform the United States into the place through which the contract of

carriage was made) aff’d in part, remanded in part on other grounds, 845 F.2d 1100, 1102 n.6

(D.C. Cir.1988)(explaining Plaintiff abandoned claim that actual carrier amenable to suit in

United States under Montreal Convention on appeal but noting in any event claim was lacking in

merit.). A ticket is merely the manifestation of the contract of carriage already made between the

carrier and the passenger and where it may have been purchased or issued/delivered is not




                                                37
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 49 of 57



determinative of the carrier’s place of business through which the contract of carriage was made

for purposes of jurisdiction under Article 33.1.

        A.      No Binding Contract of Carriage Was Formed until the Passenger’s Offer to
                Purchase Particular Transportation Was Accepted by MAS at One of MAS’s
                Places of Business

        The Itinerary Receipts forming a part of the E-Ticket and memorializing the contracts of

carriage between MAS and the Decedents named in the above-captioned lawsuits indicate that

reservation requests for the transportation which included Flight MH370 were made directly at

one of MAS’s booking offices (in China or Malaysia – but not the United States), or transmitted

to MAS electronically through MAS’s website or a Global Distribution System (“GDS”). See

Declaration of Alpa Devi Panalal, a true and correct copy of which is attached hereto as Ex. 53

(hereinafter “Ex. 53, Panalal Decl., at __”).

        In the ordinary course of business, MAS advertised and published its scheduled flights

and fares on its website and customers could offer to purchase transportation directly at one of

MAS’s offices and ticketing counters or electronically offer to purchase transportation by

accessing MAS’s online website and submitting a booking request or flight reservation request to

MAS’s reservation system located in Malaysia. Id. at ¶ 5. MAS also advertised and published its

scheduled flights and fares through agreements with various Global Distribution Systems

(“GDS”), such as Amadeus IT Group SA, Travelsky Technology Limited, Travelport

International Operations, Travelport d/b/a Worldspan and Travelport d/b/a Galileo International.

Id. The GDS companies made this information available to their customers such as travel agents

or third-party travel reservation websites or systems with access to the particular GDS as

authorized users or subscribers with whom the GDS companies have contracts. Those authorized

users or subscribers can access the GDS platform anywhere in the world remotely via the

internet. Id. at ¶¶ 5-6.


                                                   38
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 50 of 57



       The advertisement and publication of MAS’s scheduled flights and fares constitute an

“invitation for an offer” from a potential passenger/customer or an “invitation to enter into

negotiations.” See Dean Foods Co. v. Brancel, 187 F.3d 609, 619 (7th Cir. 1999) (“A price

quotation is ‘commonly understood as inviting an offer rather than making one, even when

directed to a particular customer.’”) (citing Restatement (Second) of Contracts, § 26)); Von Holdt

v. A-1 Tool Corp., No. 04 C 04123, 2013 WL 53986, at *16 (N.D. Ill. Jan. 3, 2013) (“[t]he

general rule is that price quotations are not offers, but rather are mere invitations to enter into

negotiations or to submit offers”) (internal citation omitted); O’Callaghan v. AMR Corp., No.

04-cv-4005, 2005 WL 1498870, *2 (N.D. Ill. June 8, 2005) (in context of airline tickets, carrier

accepts a passenger’s offer to purchase transportation on terms stated in advertisements) (citing

Steinberg v. Chicago Medical School, 371 N.E.2d 634, 639 (Ill. 1977)); Maurice Elec. Supply

Co. v. Anderson Safeway Guard Rail Corp., 632 F. Supp. 1082, 1087 (D.D.C. 1986) (“The

general rule is that a mere price quotation is not an offer, but rather is an invitation to enter into

negotiations or a mere suggestion to induce offers by others”) (internal citation omitted); see also

Ex. 53, Panalal Decl., at ¶7.

       As with all forms of contract, the contract of carriage cannot be formed without an offer

and acceptance. See REO Acquisition Grp. v. Fed. Nat'l Mortgage Ass'n, 104 F. Supp. 3d 22, 29

(D.D.C. 2015) (citing Malone v. Saxony Co-op. Apartments, Inc., 763 A.2d 725, 728 (D.C.

2000)). Consistent with other types of consumer transactions, a potential passenger wishing to

purchase transportation advertised by MAS in its published fares can make or submit an offer to

purchase in the form of a booking request or reservation request, to MAS directly or through a

GDS used by the potential passenger’s travel agent. O’Callaghan, 2005 WL 1498870, at *2

(contract formed when carrier accepts passenger’s offer to purchase transportation on terms




                                                 39
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 51 of 57



advertised); Klocek v. Gateway, Inc., 104 F. Supp. 2d 1332, 1340 (D. Kan. 2000) (“In typical

consumer transactions, the purchaser is the offeror, and the vendor is the offeree”); see also, Ex.

53, Panalal Decl., at ¶ 7. “It is the submission of a purchase order by a buyer in response to a

price quote that usually constitutes the offer.” Id.; see also E.C. Styberg Eng'g Co. v. Eaton

Corp., 492 F.3d 912, 918 (7th Cir. 2007) (“typically, a price quotation is considered an invitation

for an offer, rather than an offer to form a binding contract”).

           Upon receiving the potential passenger’s booking request or flight reservation request,

MAS must first determine whether it still has the capacity to perform the particular transportation

the passenger has offered to purchase at the advertised price. See Ex. 53, Panalal Decl., at ¶

8.   If, when MAS receives the booking request or flight reservation request in Malaysia, its

reservation system determines available capacity to perform the particular transportation as

requested in the proposed booking request or reservation request (and when the booking request

or reservation request is accompanied by payment information), MAS can accept the offer to

purchase.      Id. at ¶ 9. MAS’s reservation system at its headquarters in Malaysia will then

communicate the acceptance to the passenger by transmitting a MAS Record Locator Code

associated with the booking and the E-Ticket number created in the MAS reservation system. Id.

at ¶ 10.

           Acceptance by MAS of the offer to purchase transportation is the last act necessary to

form the mutual obligation and binding contract – i.e. the passenger is obligated to pay the fare

for the transportation purchased and comply with MAS’s terms and conditions and MAS is

obligated to undertake the transportation of the passenger on the particular route and date. See

Restatement (Second) of Contracts, § 63, cmt. a, illus. 1 (1981). Accordingly, the formation of




                                                 40
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 52 of 57



the contact occurs when and where MAS accepts the offer and issues the E-Ticket number – not

when (or where) the acceptance is received by the passenger. Id.

        B.         No Place of Business of MAS in the United States Accepted any of the
                   Passengers’ Offers to Purchase the Transportation which Included Flight
                   MH370.

        Applying the law to the facts of this case, the Record Locator Code(s) identified in

Itinerary Receipts for all Decedents reflect that all of the passengers involved either: (1)

purchased the ticket from MAS’s physical ticketing office outside of the United States; (2) made

the purchase electronically through MAS’s website; or (3) made the purchase through a travel

agent accessing a GDS. See Ex. 53, Panalal Decl., at ¶¶ 10-20. Accordingly, MAS’s “place[s] of

business through which the contract[s] [were] made” for all of the contracts with the Decedents

named in the above captioned cases are thus in Malaysia or China, not anywhere within the

United States, because those are the locations of MAS’s places of business that accepted the

Decedents’ offers and where MAS generated the E-Ticket number and Itinerary Receipt

evidencing the contract that was formed between the parties. Id. at ¶¶ 9-10; see also, Samra v.

Shaheen Bus. & Inv. Grp., Inc., 355 F. Supp. 2d 483, 499 (D.D.C. 2005) (the “place of

contracting” is the place of acceptance of the offer) (citing Restatement (Second) of Conflict of

Laws, § 188, cmt. e); Hinc v. Lime-O-Sol Co., 382 F.3d 716 (7th Cir. 2004) (“The place of

contracting is the jurisdiction wherein is accomplished the last act necessary to give validity to

the contract.”).

        For these reasons the courts in the United States do not have jurisdiction to adjudicate

these wrongful death lawsuits under the third provision of Article 33.1. Accordingly, MAS’s

Motion to Dismiss should thus be granted in favor of MAS and against all Plaintiffs.




                                               41
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 53 of 57



III.   The United States Was Not The Place Of Destination (or Any Place) On Any Of The
       Passengers’ Contracts Of Carriage.

       Finally, the “destination” clause of Article 33.1 precludes subject matter jurisdiction in

the United States because no point in the United States was a point of origin, a point of

destination, or any agreed stopping point included on any of the passengers’ contracts of

carriage. For purposes of jurisdiction under Convention, it is the “ultimate destination listed in

the contract for carriage that controls.” Gayda v. LOT Polish Airlines, 702 F.2d 424, 425 (2d

Cir.1983). There can be only one “destination” for each passenger for purposes of determining

jurisdiction under the Montreal Convention. Id. When a passenger has purchased a round-trip

ticket, the “destination” of a round trip international airline ticket is the starting point of the

journey. Klos v. Polskie Linie Lotnicze, 133 F.3d 164, 167-68 (2d Cir. 1997); Petrire v. Spantax,

S.A., 756 F.2d 263, 265 (2d Cir. 1985). For a one-way ticket, the ultimate destination is the

location where the carriage ends. In re Air Crash Disaster at Malaga, Spain on Sept. 13, 1982,

577 F. Supp. 1013, 1014 (E.D.N.Y. Jan. 30, 1984).

       It is undisputed that no place in the United States was the point of origin, point of

destination or agreed stopping place according to any contract of carriage between MAS and any

of the Passengers. See Ex. 53, Panalal Decl., at ¶ 75. Accordingly, the United States cannot be

the place of “destination” and this provision of Article 33.1 likewise does not provide a basis for

this Court to exercise treaty jurisdiction over any of the above captioned cases. For this reason as

well, this Court should grant MAS’s Motion to Dismiss.

IV.    MAS Is Domiciled And Has Its Principal Place Of Business In Malaysia.

       It is undisputed that the remaining provisions of Article 33.1 also do not point to the

United States as an appropriate forum to adjudicate these wrongful death lawsuits. The first and

second provisions of Article 33.1 identify the place of the carrier’s “domicile” and “principal



                                                42
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 54 of 57



place of business” as available fora, both of which for MAS are in Malaysia. Under the Montreal

Convention, the “domicile” and “principal place of business” are where the carrier is

incorporated and has its headquarters. Wyler v. Korean Air Lines Company, Ltd., 928 F.2d 1167,

1175 (D.C. Cir. 1991); Singh v. Tarom Romanian Air Transport, 88 F. Supp. 2d 62, 65

(E.D.N.Y. 2000) (noting that “domicile” of a carrier is the carrier’s place of incorporation and

that for purposes of the Warsaw Convention, a foreign corporation has only one “principal place

of business” – its corporate headquarters).

       Here, MAS was incorporated under the laws of Malaysia to operate as the national carrier

for Malaysia. See Declaration of Rizani Bin Hassan, at ¶ 5, a true and correct copy of which is

attached hereto as Ex. 54. MAS’s corporate and operational headquarters were and are located at

the Sultan Abdul Aziz Shah Airport in Subang, Selangor, Malaysia. See Declaration of Mohd

Fuad Bin Mohd Sharuji, at ¶ 5, a true and correct copy of which is attached hereto as Ex. 55.

Accordingly, neither of these clauses of Article 33.1 provides a basis for this Court to exercise

jurisdiction over any of the Plaintiffs’ claims.

                                          CONCLUSION

       The Montreal Convention does not provide a basis for this Court or any court in the

United States to exercise subject matter jurisdiction over any of the above-captioned cases for the

simple reason that there is absolutely no meaningful connection between this forum and MAS or

the passengers. Article 33.2 does not create jurisdiction in the United States because none of the

Plaintiffs’ decedents had their “principal and permanent residence” in the United States.

Specifically, the Ganguli matter, No. 1:16-cv-01047-KBJ, must be dismissed because the

decedents, Muktesh Mukherjee and Xiao Mo Bai, had the “principal and permanent residence”

in China, where they were living at the time of the Accident. The Wood matter, No. 1:16-cv-




                                                   43
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 55 of 57



00053-KBJ, must be dismissed because decedent Philip Wood’s “principal and permanent

residence” was in Malaysia at the time of the Accident. Similarly, the Plaintiffs asserting claims

for the wrongful deaths of Leo and Nicole Meng in the Huang, et al. matter, No. 1:16-cv-01063-

KBJ and the Zhang et al. matter, No. 1:16-cv-01048-KBJ, as well as those claims asserted in the

Smith matter, No. 1:16-cv-00439-KBJ, must be dismissed because the minor children were living

in China with their parents at the time of the Accident and thus their “principal and permanent

residence” was in China, not the United States. Similarly, Plaintiffs asserting claims for the

wrongful death of decedent, Meng Zhang in the Huang, et al. matter, No. 1:16-cv-01063-KBJ

and the Zhang et al. matter, No. 1:16-cv-01048-KBJ, as well as the claim asserted in the Smith

matter, No. 1:16-cv-00439-KBJ, must be dismissed because the decedent was living in China

with her husband and thus China was her “principal and permanent residence” at the time of the

Accident. The claims asserted for the wrongful deaths of all other decedents named in the

Huang, et al. matter, No. 1:16-cv-01063-KBJ, the Zhang et al. matter, No. 1:16-cv-01048-KBJ,

and the Smith matter, No. 1:16-cv-00439-KBJ must be dismissed because Plaintiffs have not

specifically alleged jurisdiction based on Article 33.2 and in any event it has not been alleged

that any decedent had their “principal and permanent residence” in the United States. Finally, the

Kanan, et al. matter, No. 1:16-cv-01062-KBJ, must be dismissed because Plaintiff concedes that

the decedent was living in Malaysia at the time of the Accident and therefore cannot establish

“principal and permanent residence” in the United States. Dismissal of the Gaspard matter, No.

1:16-cv-00419-KBJ, is likewise required because Plaintiff concedes the decedents were living in

China and had their “principal and permanent residence” there at the time of the Accident.

       Article 33.1 of the Montreal Convention also does not provide a basis for subject matter

jurisdiction to hear any of the above-captioned wrongful death cases and all cases must be




                                               44
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 56 of 57



dismissed because: (1) MAS’s domicile and principle place of business is in Malaysia; (2) the

United States is not the place of destination on MAS’s contracts of carriage with any decedent;

and (3) MAS’s “place[s] of business through which the contract[s] [were] made” for all of the

contracts with all Decedents named in the above captioned cases are in Malaysia or China, not

the United States.

       Accordingly, this Court lacks subject matter jurisdiction over these lawsuits and MAS

respectfully submits that this Court must dismiss all of the above-captioned cases with prejudice.



October 1, 2016                              Respectfully submitted,

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                                                45
       Case 1:16-mc-01184-KBJ Document 38-1 Filed 10/01/16 Page 57 of 57



                                 CERTIFICATE OF SERVICE
       The undersigned certifies that, on October 1, 2016, pursuant to Fed. R. Civ. P. 5 and

LCvR 5.3, a true and correct copy of the foregoing Defendant Malaysian Airline System Berhad

(Administrator Appointed)’s Memorandum in Support of its Rule 12(b)(1) Motion to Dismiss for

Lack of Subject Matter Jurisdiction was filed with the Clerk of Court using the CM/ECF System,

which will send notification of such filing to the attorneys of record at the email addresses on file

with the Court.


                                                          /s/ Richard A. Walker
                                                              Richard A. Walker




                                                 46
